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                 EXHIBIT
                   A
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                                                                                                     4/10/2017 2:20:43 Pik
                                                                                Chris Daniel - District Clerk Harris Count:
                                                                                                  Envelope No. 163699T
                           2017-24250 / Court: 270                                                      By: Jelilat Adesiyar
                                                                                             Filed: 4/10/2017 2:20:43 Pt

                                    CAUSE NO.

BRIAR CAPITAL L.P.,                                               IN THE DISTRICT COURT OF
     Plaintiff,

VS.                                                                  HARRIS COUNTY, TEXAS

THE HANOVER INSURANCE COMPANY,
     Defendant.                                                             JUDICIAL DISTRICT

                             PLAINTIFF'S ORIGINAL PETITION

       Briar Capital L.P. ("Briar") files this original petition against The Hanover Insurance

Company ("Hanover").

                                     Discovery control plan

               Plaintiff elects discovery control plan level 2 under Tex. R. Civ. P. 190.3.

                                        Rule 47 statement

               Pursuant to Tex. R. Civ. P. 47, Plaintiff seeks monetary relief against Hanover over

$1,000,000. Plaintiff reserves and does not waive additional claims it might bring.

                                              Parties

               Briar Capital, L.P., is a Texas limited partnership that conducts business in Harris

County, Texas.

               The Hanover Insurance Company is a New Hampshire corporation licensed to

conduct business of insurance in Texas that may be served through its registered agent in Texas,

CT Corp System, at 1999 Bryan Street, Suite 900, Dallas Texas 75201-3136.

                                     Jurisdiction and venue

               This Court has personal jurisdiction over Hanover because it conducts business in

Texas and has continuous and systematic contacts with Texas. This Court has subject matter

jurisdiction over this claim because the amount in controversy exceeds the jurisdictional minimum
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 of this Court.

                   Venue for this lawsuit is proper in Harris County, Texas, under Tex. Civ. Prac. &

 Rem. Code §§15.002(a)(1) and 15.032.

                                                        Facts

                  Briar is an insured under the Hanover Insurance Company Financial Institution

Bond number BFD1045523, effective for the bond period of December 20, 2015 to December 20,

2016 (the "Bond"). A true and correct copy of the Bond is attached as Exhibit A.

                  On May 8, 2012, Forward Components, Inc. ("Forward") and Briar entered into the

Sale of Accounts and Security Agreement (the "Security Agreement"). A true and correct copy of

the Security Agreement is Exhibit B.

                  Pursuant to the Security Agreement, Forward agreed to sell and Briar agreed to

purchase certain Accounts' pursuant to the terms and conditions, and based on the representations

and warranties, in the Security Agreement.

                  The Security Agreement was signed by Scott Willcosz as President of Forward.

Each of the representations and warranties in the Security Agreement was made by Forward and

by Scott Wilkosz, individually, as well as by each of Forward's principals, officers, managers,

members, and partners. See Section 4, Exhibit B.

                  As security for Forward's obligations under the Security Agreement, Forward

granted to Briar a security interest in and lien upon all of Forward's right, title, and interest in and

to the Collateral. The Security Agreement defines the Collateral as follows:

                  "Collateral" means and includes all of [Forward's] right, title, and
                  interest in and to each of the following, wherever located and
                  whether now or hereafter existing or now owned or hereafter
                  acquired or rising: Accounts; Chattel Paper; Commercial Tort

' All capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Security
Agreement.

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               Claims; Deposit Accounts; Documents; Equipment; General
               Intangibles; Goods (including but not limited to all files,
               correspondence, computer programs, tapes, discs, and related data-
               processing software which contains information identifying or
               pertaining to any of the Collateral or any Account Debtor or showing
               the amounts thereof or payments thereon or otherwise necessary or
               helpful in the realization thereon or the collection thereof);
               Inventory; Proceeds of Inventory; Investments; Letters of Credit and
               Letter of Credit Rights; and all Supporting Obligations. All the
               above whether now or hereafter acquired.

See Exhibit "1.1," Exhibit B. A true and correct copy of the UCC Financing Statement for the

Collateral is Exhibit C.

               The Accounts purchased by Briar from Forward constituted alleged purchase orders

and invoices by and to several units and subsidiaries of Honeywell International, Inc.

("Honeywell"). The Security Agreement defines Accounts as follows:

               "Account(s)" includes a right to payment of a monetary obligation,
               whether or not earned by performance, (i) for property that has been
               or is to be sold, leased, licensed, assigned, or otherwise disposed of
               or (ii) for services rendered or to be rendered."

See Exhibit "1.1" of Exhibit B.

               All Accounts purchased by Briar from Forward were listed on a Schedule of

Accounts Sold/Bill of Sale (the "Schedule(s)"). The Accounts were purchased by Briar in good

faith and in reliance on the validity of the Accounts, and the Honeywell invoices and purchase

orders.

               Each Schedule lists Forward under "client's name." The Schedules include a date,

a schedule number, the name of the account debtors, the invoice numbers; invoice dates, invoice

amounts, and are signed by Scott Wilkosz as President of Forward. Each Schedule includes an

assignment transferring to Briar Forward's interest in the Accounts. These assignments are made

pursuant to provisions in the Security Agreement and incorporate all warranties made in the



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Security Agreement.

               In 2016, Briar investigated a series of late or missing payments by Honeywell on

the Accounts identified in the Schedules. Briar employees and agents conducted a field

examination and had meetings and telephone conferences with Forward's officers and employees.

Initially, in those meetings and telephone conferences, Forward's officers and employees,

including Scott Wilkosz, represented that the Accounts from Honeywell were just and true and

due and provided excuses and explanations for why Honeywell was delaying payment of such

Accounts.

               Briar was provided by Forward with the name of a contact at Honeywell with whom

to verify the Accounts. Another Honeywell representative informed Briar that none of the

Accounts were just and true or genuine, and that Honeywell did not issue such purchase orders to

Forward; i.e., the Accounts were counterfeits and forgeries.

               Briar's officers and employees then confronted Scott Wilkosz with this information

and Scott Wilkosz admitted that all of the Honeywell Accounts were fraudulent and did not exist.

               Briar was unaware that it was purchasing forged, altered, and counterfeit accounts

from Forward. On November 2, 2016, Scott Wilkosz admitted that Forward forged, altered, and

counterfeited the purchase orders and sold to Briar non-existent invoices. The forged, altered, and

fraudulent Accounts, purchase orders, and invoices purchased from Forward totaled the sum of

$905,456.08, which is the amount advanced by Briar to Forward.

               The Bond includes several Insuring Agreements contemplating various covered

losses. Briar claims coverage under each and every section of the Bond that applies to these facts.

Hanover has failed and refused to state which coverages apply, even though coverage is clear. By

way of example only, Insuring Agreement (E) of the Bond states, in relevant part:



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                (E) Loss resulting directly from the Insured having, in good faith,
                for its own account or for the account of others,
                         acquired, sold or delivered, or given value, extended credit
                    or assumed liability, on the faith of, any original
                         (b) Document of Title,

                       (e) Evidence of Debt,

                       (g) Security Agreement
               which
                           (ii) bears a signature of any maker, drawer, issuer,
                           endorser, assignor, lessee, transfer agent, registrar,
                           acceptor, surety, guarantor, or of any person signing in
                           any other capacity which is a Forgery, or
                           (ii) is altered
                       acquired, sold or delivered, or given value, extended credit
                   or assumed liability, on the faith of any item listed in (a) through
                   (d) which is a Counterfeit

               Counterfeit is defined in the Bond as "an imitation which is intended to deceive and

to be taken as the original." See page 3, Exhibit A.

               Document of Title is defined in the Bond as "a bill of lading, dock warrant, dock

receipt, warehouse receipt or order for the delivery of goods, and also any other document which

in the regular course of business or financing is treated as adequately evidencing that the person

in possession of it is entitled to receive, hold and dispose of the document and the goods it covers

and must purport to be issued by or addressed to a bailee and purport to cover goods in the bailee's

possession which are identified or are fungible portions of an identified mass." See page 3, Exhibit

A.

               Evidence of Debt is defined in the Bond as "an instrument, including a Negotiable

Instrument, executed by a customer of the insured and held by the insured which in the regular

course of business is treated as evidencing the customer's debt to the insured." See page 3, Exhibit

A. °




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               Security Agreement is defined in the Bond as "an agreement which creates an

interest in personal property or fixtures and which secures payment or performance of an

obligation." See page 4, Exhibit A.

               Each of these, and other, provisions of the Bond, apply to Briar's claim. Briar

reserves and does not waive, and hereby claims, coverage under each provision of the Bond that

applies to the claim, whether mentioned specifically herein or not.

               Briar made a timely and proper claim with Hanover under the Bond on November

16, 2016. A true and correct copy of the Claims Summary is attached as Exhibit D. Later, Hanover

required that Briar provide additional information and documents and to complete and submit to

Hanover a Proof of Loss Form, which Briar filed with Hanover on February 9, 2017. A true and

correct copy of the Proof of Loss form is attached as Exhibit E.

               Hanover has failed and refused to act in good faith to effectuate a prompt, fair and

equitable settlement of the claims filed by Briar in which Hanover's liability is reasonably clear.

Hanover has also failed and refused to affirm or deny coverage of a claim to Briar within a

reasonable time.

               Hanover, through its attorney, admitted that Hanover determined that the claim was

not covered by the Bond when Hanover received the notice of the claim on or. about November

16, 2016. Hanover reached this conclusion even though it had conducted no investigation.

Hanover continued to request documents and information from Briar even though it had already

determined the claim was not covered.

                                      First cause of action
                                      Breach of contract

              Hanover has breached the Bond by failing and refusing to accept and pay Briar's

Claim which was timely made and covered by the Bond. Briar seeks its damages caused by such

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breaches, including but not limited to all direct, actual, incidental, consequential, economic,

special, nominal, and general damages, plus costs of court, attorney's fees, and pre- and post-

judgment interest.

                                       Second cause of action
                                             Bad faith

                There are insurance contracts between Briar and Hanover which create a duty of

good faith and fair dealing. Hanover breached its duty when it denied or delayed approving and

paying Briar's Claim when coverage was reasonably clear. Such breaches proximately caused

damages to Briar. Briar seeks its damages caused by such breaches, including but not limited to

all direct, actual, incidental, consequential, economic, special, nominal, and general damages, plus

costs of court, attorney's fees, and pre- and post-judgment interest. Briar also seeks exemplary or

punitive damages based on the fraudulent, malicious, intentional, or grossly negligent conduct of

Hanover.

                                      Third cause of action
                       Violations of Texas Insurance Code, Chapter 541

               Hanover has violated the Texas Insurance Code (the "Code") in its handling of this

claim and by denying coverage. Briar and Hanover are persons under the Code. Hanover is

engaged in acts or practices that violated the Code, the Texas Business & Commerce Code, or a

tie-in provision of the Code. Briar relied on Hanover's acts and practices to its detriment and such

acts or practices caused actual damages. Briar seeks its damages caused by such breaches,

including but not limited to all direct, actual, incidental, consequential, economic, special, nominal,

and general damages, plus costs of court, attorney's fees, and pre- and post-judgment interest.

Briar also seeks additional damages under the statutes.




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                                                          Conclusion

          Briar Capital, L.P. requests that the Court grant judgment in its favor against The Hanover

Insurance Company for its damages, attorney's fees, costs of court, pre- and post-judgment

interest, exemplary and additional damages, and that the Court grant all other relief to which it is

entitled.


                                                            Respectfully submitted,

                                                            NATHAN SOMMERS JACOBS
                                                            A Professional Corporation


                                                            By: /s/ George R. Gibson
                                                                   George R. Gibson
                                                                   Texas Bar No. 00793802
                                                                   Marvin D. Nathan
                                                                   Texas Bar No. 14817000
                                                                   David Overhuls
                                                                   Texas Bar No. 24082029
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                                                            MICHAEL JAY KUPER
                                                            A Professional Corporation
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                                                                   512-874-3895 phone
                                                                   713-892-4800 fax
                                                                   mkuper@kuperlawfirm.com

                                                            ATTORNEYS FOR BRIAR CAPITAL, LP
WABriar Capital \Forward Components, Inc 58918 16577 \Kaufman Dolowich (Hanover Ins)TOP V5 Updated.




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  FINANCIAL INSTITUTION on.,N
                                    2P -17-24250 / Court: 270
  Standard Form No. 15, Revised to June, 1990

          THE HANOVER INSURANCE COMPANY
                                                                     Bond No. BF01045523
          440 Lincoln Street
          Worcester, MA 01653
          (Herein called Underwriter)


 DECLARATIONS
 Item 1. Name of Insured (herein called Insured): Briar Capital LP

             Principal Address: 1500 City West Boulevard, Suite 560, Houston, TX 77042


 Item 2. Bond Period: from 12:01 am. on          12/20/2015                   to 12:01 a.m. on 12/20/2016
          standard time.                         (MONTH, DAY, YEAR)                                (MONTH, DAY,
                                                                                                      YEAR)

 Item 3. The Aggregate Liability of the Underwriter during the Bond Period shall be
           S.

 Item 4. Subject to Sections 4 and 11 hereof,
           the Single Loss Limit of Liability is $ 1,500,000
           and the Single Loss Deductible is $ 100,000

            Provided, however, that if any amounts are inserted below opposite specified Insuring Agreements or
            Coverage, those amounts shall be controlling. Any amount set forth below shall be part of and not in
            addition to amounts set forth above. (If an Insuring Agreement or Coverage is to be deleted, insert "Not
            Covered.")

            Amount applicable to:                                                          Single Loss        Single Loss
                                                                                         Limit of Liability    Deductible
            Insuring Agreement (p) — FORGERY OR ALTERATION                              $ 1,500,000           $ 10,000
            Insuring Agreement (E) — SECURITIES                                         $ 1,500,000           $ 10,000
            Optional Insuring Agreements and Coverages:
            Computer Systems Fraud                                                   $ 1,500,000       $ 10,000
            Voice Initiated Transfer Fraud                                           $ 1,500,000       $ 10,000
            Telefacsimilie Transfer Fraud                                            $ 1,500,000       $ 10,000
            If "Not Covered" is inserted above opposite any specified insuring Agreement or Coverage, such Insuring
            Agreement or Coverage and any other reference thereto in this bond shall be deemed to be deleted
            therefrom.

Item 5      The liability of the Underwriter is subject to the terms of the following riders attached hereto:
            SR6275, SR6145b, SR6196, SR6184, SR6195, 181-1230, THC-100
Item 6      The Insured by the acceptance of this bond gives notice to the Underwriter terminating or canceling prior
            bond(s) or policy(ies) No.(s)
            such termination or cancellation to be effective as of the time this bond becomes effective.
Signed, sealed and dated this day of, 11/25/2015




Attest:                                                        By:
                                                                                         aRkem
           Anne Pandolfe, Attorney-in-Fact                           Cheryl Palen, Attorney-in-Fact



 TSB 5867a
                                                                             EXHIBIT
                                                                                                              Page 1 of 6
                                                                               A
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      The Underwriter, in consideration of an ag. . premium, and in reliance upon all statements, made r.                     'formation furnished to the Underwriter by
the insured in applying for this bond, and subject to the Declarations, Insuring Agreements General Agreements, Conditions and Limitations and other
terms hereof, agrees to indemniI the Insured for
                                                                        INSURING AGREEMENTS
                                        FIDEUTY                                                    (0) a Transportation Company and being transported In a
         (A) Loss resulting directly from dishonest or fraudulent acts                             conveyance other than an armored motor vehicle provided that
   committed by an Employee acting alone or in collusion with others.                              covered Property transported in such manner is limited to the
        Such dishonest or fraudulent acts must be committed by the                                 following:
  Employee with the manifest Intent                                                                (i) records, whether recorded in writing or electronically, and
              to cause the Insured to sustain such loss; and                                       (11) Certificated Securities issued in registered form and not
              to obtain financial benefit for the Employee or another person or                            endorsed, or with restrictive endorsements, and
              entity.                                                                              (iii) Negotiable Instruments not payable to bearer, or not
        However, if some or all of the Insured's loss results directly or                                  endorsed, or with restrictive endorsements.
  indirectly from Loans, that portion of the loss is not covered unless the                  Coverage under this Insuring Agreement begins immediately upon
  Employee was in collusion with one or more parties to the transactions               the receipt of such Property by the natural person or Transportation
  and has received, in connection therewith, a financial benefit with a value          Company and ends immediately upon delivery to the designated recipient
  of at least $2,500.                                                                  or its agent.
        As used throughout this Insuring Agreement, financial benefit does                                          FORGERY OR ALTERATION
  not include any employee benefits earned in the normal course of em-                       (D) Loss resulting directly from Forgery or alteration of, on, or in any
  ployment, including: salaries, commissions, fees, bonuses, promotions,              Negotiable Instruments (except registered or bearer obligations) made or
  awards, profit sharing or pensions.                                                 drawn by or drawn upon the Insured, or made or drawn by one acting as
                                     ON PREMISES                                      agent of the Insured, or purporting to have been made as herein before
           )(1) Loss of Property resulting directly from                              set forth:
                         robbery,       burglary,    misplacement, mysterious                A mechanically reproduced facsimile signature is treated the same
                         unexplainable disappearance and damage thereto or            as a handwritten signature.
                         destructlon thereof, or                                                                             SECURITIES
                         common-law or statutory larceny, committed by a                     (E) Loss resulting directly from the Insured having, in good faith, for
                         person present in an office of the Insured covered           its own account or for the account of others,
                         under this bond.                                                         (1) acquired, sold or delivered, or given value, extended credit
                   while the Property Is lodged or deposited within                   or assumed liability, on the faith of, any original
                         (i) any of the Insured's offices covered under this                              (a) Certificated Security,
                                bond, or                                                                  (b) Document of Title,
                         (i1) offices of any financial institutions, or                                   (c) deed, mortgage or other instrument conveying title to,
                         (iii) any premises where the Insured leases safe                                 or creating or discharging a lien upon, real property,
                                deposit boxes.                                                            (d) Certificate of Origin or Title,
             (2) Loss of or damage to                                                                     (e) Evidence of Debt,
                        furnishings, fixtures, supplies or equipment within an                            (t) corporate, partnership or personal Guarantee, or
                        office of the Insured covered under this bond resulting                           (g) Security Agreement
                        directly from larceny or theft in, or by burglary or          which
                        robbery of, such office, or attempt thereat, or by                                      (i) bears a signature of any maker, drawer, issuer,
                        vandalism or malicious mischief, or                                                             endorser, assignor, lessee, transfer agent,
                        such office resulting from larceny or theft In, or by                                           registrar, acceptor, surety, guarantor, or of any
                        burglary or robbery of such office or attempt thereat,                                          person signing in any other capacity which is a
                        or to the interior of such office by vandalism or                                               Forgery, or
                        malicious mischief,                                                                     Op is altered, or
                  provided that                                                                                 (iii) is lost or stolen;
                        (I) the Insured is the owner of such furnishings,                         (2) acquired, sold or delivered, or given value, extended credit
                               fixtures, supplies, equipment, or office or is liable  or assumed liability, on the faith of any item listed in (a) through (d) above
                               for such loss or damage, and                           which is a Counterfeit.
                       (ii) the loss Is not caused by fire.                                 Actual physical possession of the items listed In (a) through (g)
                                     IN TRANSIT                                      above by the Insured, is a condition precedent to the Insured's having
       (C) Loss of Property resulting directly from robbery, common-law or           relied on the faith of such items.
 statutory larceny, misplacement, mysterious unexplainable disappear-                       A mechanically reproduced facsimile signature is treated the same
 ance, being lost or made away with, and damage thereto or destruction               as a handwritten signature.
 thereof, while the Properly is in transit anywhere in the custody of                                              COUNTERFEIT CURRENCY
             a natural person acting as a messenger of the Insured (or                      (F) Loss resulting directly from the receipt by the Insured, in good
             another natural person acting as messenger or custodian                 faith, of any Counterfeit Money of the United States of America, Canada
             during an emergency arising from the incapacity of the original         or of any other country in which the Insured maintains a branch office
             messenger), or
             a Transportation Company and being transported in an armored
             motor vehicle, or
                                                                      GENERAL AGREEMENTS
       ADDITIONAL OFFICES OR EMPLOYEES - CONSOUDATION,                                      (b) has been caused or will be caused by an employee or
              MERGER OR PURCHASE OF ASSETS - NOTICE                                  employees
      A. If the Insured shall, while this bond is in force, establish any                        of such institution, or
 additional offices, other than by consolidation or merger with, or purchase                     has arisen or will arise out of the assets or liabilities acquired by
 or acquisition of assets or liabilities of, another Institution, such offices       the Insured as a result of such consolidation, merger of purchase or
shall be automatically covered hereunder from the date of such                       acquisition of assets of liabilities unless the Insured shall
establishment without the requirement of notice to the Underwriter or the                        (I) give the Underwriter written notice of the proposed
 payment of additional premium for the remainder of the premium period.                                  consolidation, merger or purchase or acquisition of assets
      If the Insured shall, while this bond is in force, consolidate or merge                            or liabilities prior to the proposed effective date of such
with, or purchase or acquire assets or liabilities of, another institution, the                          action and
Insured shall not have such coverage as is afforded under this bond for                          (ii) obtain the written consent of the Underwriter to extend the
loss which                                                                                               coverage provided by this bond to such additional offices
      (a) has occurred or will occur in offices or premises, or                                          or premises, Employees and other exposures, and




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      The Underwriter, in consideration of an at -el premium, and In reliance upon all statements, made                      mformation furnished to the Underwriter by
the insured in applying for this bond, and subject to the Declarations, Insuring Agreements , General Agreements, Conditions and Limitations and other
terms hereof, agrees to indemnify the insured for
                                                                        INSURING AGREEMENTS
                                        FIDEUTY                                                     (c) a Transportation Company and being transported in a
         (A) Loss resulting directly from dishonest or fraudulent acts                              conveyance other than an armored motor vehicle provided that
   committed by an Employee acting alone or in collusion with others.                               covered Property transported in such manner is limited to the
         Such dishonest or fraudulent acts must be committed by the                                 following:
  Employee with the manifest intent                                                                 (I) records, whether recorded in writing or electronically, and
               to cause the Insured to sustain such loss; and                                       (II) Certificated Securities issued In registered form and not
               to obtain financial benefit for the Employee or another person or                            endorsed, or with restrictive endorsements, and
               entity.                                                                              (iii) Negotiable Instruments not payable to bearer, or not
        However, if some or all of the Insured's loss results directly or                                   endorsed, or with restrictive endorsements.
  Indirectly from Loans, that portion of the loss is not covered unless the                  Coverage under this Insuring Agreement begins immediately upon
  Employee was in collusion with one or more parties to the transactions               the receipt of such Property by the natural person or Transportation
  and has received, In connection therewith, a financial benefit with a value          Company and ends Immediately upon delivery to the designated recipient
  of at least $2,500.                                                                  or its agent.
        As used throughout this Insuring Agreement, financial benefit does                                           FORGERY OR ALTERATION
  not include any employee benefits earned in the normal course of em-                       (D) Loss resulting directly from Forgery or alteration of, on, or in any
  ployrnent, including: salaries, commissions, fees, bonuses, promotions,             Negotiable Instruments (except registered or bearer obligations) made or
  awards, profit sharing or pensions,                                                 drawn by or drawn upon the Insured, or made or drawn by one acting as
                                    ON PREMISES                                       agent of the Insured, or purporting to have been made as herein before
        (B) (1)     Loss of Property resulting directly from                          set forth:
                          robbery, burglary,         misplacement, mysterious                A mechanically reproduced facsimile signature is treated the same
                          unexplainable disappearance and damage thereto or           as a handwritten signature.
                          destruction thereof, or                                                                             SECURITIES
                          common-law or statutory larceny, committed by a                    (E) Loss resulting directly from the Insured having, in good faith, for
                          person present in an office of the Insured covered          its own account or for the account of others,
                          under this bond.                                                         (1) acquired, sold or delivered, or given value, extended credit
                    while the Property is lodged or deposited within                  or assumed liability, on the faith of, any original
                          (i) any of the Insured's offices covered under this                              (a) Certificated Security,
                                bond, or                                                                   (b) Document of Title,
                         (I1) offices of any financial institutions, or                                    (c) deed, mortgage or other instrument conveying title to,
                         (iii) any premises where the Insured leases safe                                  or creating or discharging a lien upon, real property,
                                deposit boxes.                                                             (d) Certificate of Origin or Title,
              (2) Loss of or damage to                                                                     (e) Evidence of Debt,
                         furnishings, fixtures, supplies or equipment within an                            (t) corporate, partnership or personal Guarantee, or
                         office of the Insured covered under this bond resulting                           (g) Security Agreement
                         directly from larceny or theft in, or by burglary or         which
                         robbery of, such office, or attempt thereat, or by                                      (i) bears a signature of any maker, drawer, issuer,
                         vandalism or malicious mischief, or                                                             endorser, assignor, lessee, transfer agent,
                         such office resulting from larceny or theft in, or by                                           registrar, acceptor, surety, guarantor, or of any
                         burglary or robbery of such office or attempt thereat,                                          person signing in any other capacity which Is a
                         or to the interior of such office by vandalism or                                               Forgery, or
                         malicious mischief,                                                                     (ii) is altered, or
                    provided that                                                                                (iii) is lost or stolen;
                         (i) the Insured is the owner of such furnishings,                        (2) acquired, sold or delivered, or given value, extended credit
                               fixtures, supplies, equipment, or office or is liable or assumed liability, on the faith of any Item listed in (a) through (d) above
                               for such loss or damage, and                          which is a Counterfeit.
                         (I1) the loss is not caused by fire.                               Actual physical possession of the Items fisted in (a) through (g)
                                     IN TRANSIT                                      above by the Insured, is a condition precedent to the Insured's having
       (C) Loss of Property resulting directly from robbery, common-law or           relied on the faith of such items.
 statutory larceny, misplacement, mysterious unexplainable disappear-                       A mechanically reproduced facsimile signature is treated the same
 ance, being lost or made away with, and damage thereto or destruction               as a handwritten signature.
 thereof, while the Property is in transit anywhere in the custody of                                               COUNTERFEIT CURRENCY
             a natural person acting as a messenger of the Insured (or                      (F) Loss resulting directly from the receipt by the Insured, in good
             another natural person acting as messenger or custodian                 faith, of any Counterfeit Money of the United States of America, Canada
             during an emergency arising from the incapacity of the original         or of any other country in which the Insured maintains a branch office
             messenger), or
             a Transportation Company and being transported in an armored
             motor vehicle, or
                                                                      GENERAL AGREEMENTS
       ADDITIONAL OFFICES OR EMPLOYEES - CONSOLIDATION,                                     (b) has been caused or will be caused by an employee or
               MERGER OR PURCHASE OF ASSETS - NOTICE                                 employees
      A. if the Insured shall, while this bond is in force, establish any                         of such institution, or
 additional offices, other than by consolidation or merger with, or purchase                (c) has arisen or will arise out of the assets or liabilities acquired by
or acquisition of assets or liabilities of, another institution, such offices        the Insured as a result of such consolidation, merger of purchase or
shall be automatically covered hereunder from the date of such                       acquisition of assets of liabilities unless the Insured shall
establishment without the requirement of notice to the Underwriter or the                        (I) give the Underwriter written notice of the proposed
payment of additional premium for the remainder of the premium period.                                    consolidation, merger or purchase or acquisition of assets
      If the insured shall, while this bond is in force, consolidate or merge                             or liabilities prior to the proposed effective date of such
with, or purchase or acquire assets or liabilities of, another institution, the                           action and
Insured shall not have such coverage as is afforded under this bond for                          (ii) obtain the written consent of the Underwriter to extend the
loss which                                                                                                coverage provided by this bond to such additional offices
      (a) has occurred or will occur in offices or premises, or                                           or premises, Employees and other exposures, and




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                (iii) upon obtaining such consent,            to the Underwriter an                               NC-7 OF LEGAL PROCEEDINGS
                      additional premium.                                                                                 SURED - ELECTION TO DEFEND
                             CHANGE OF CONTROL - NOTICE                                          E. The Insured shall notify the Underwriter at the earliest practicable
         B. When the Insured learns of a change in control, it shall give written          moment not to exceed 30 days after notice thereof, of any legal proceeding
 notice to the Underwriter.                                                                brought to determine the Insured's liability for any loss, claim or damage which,
         As used in this General Agreement, control means the power to                     If established, would constitute a collectible loss under this bond. Concurrently,
 determine the management or policy of a controlling holding company or the                the Insured shall furnish copies of all pleadings and pertinent papers to the
 Insured by virtue of voting-stock ownership. A change in ownership of voting-             Underwriter.
 stock Mich results in direct or indirect ownership by a stockholder or an                       The Underwriter, at Its sole option, may elect to conduct the defense of
 affiliated group of stockholders of ten percent (10%) or more of such stock shall         such legal proceeding, in whole or in part. The defense by the Underwriter
 be presumed to result in a change of control for the purpose of the required              shall be in the Insured's name through attorneys selected by the Underwriter.
 notice.                                                                                   The Insured shall provide all reasonable information and assistance required
         Failure to give the required notice shall result In termination of coverage       by the Underwriter for such defense.
 for any loss involving a transferee, to be effective upon the date of stock                     If the Underwriter elects to defend the Insured, In whole or in part, any
 transfer.                                                                                judgment against the Insured on those counts or causes of action which the
                             REPRESENTATION OF INSURED                                     Underwriter defended on behalf of the Insured or any settlement In which the
         C. The Insured represents that the information furnished in the                   Underwriter participates and all attorneys' fees, costs and expenses incurred
application for this bond is complete, true and correct. Such application                  by the Underwriter in the defense of the litigation shall be a loss covered by this
 constitutes part of this bond.                                                            bond.
         Any misrepresentation, omission, concealment or incorrect statement of a                If the Insured does not give the notices required in subsection (a) of
material fact, in the application or otherwise, shall be grounds for the rescission       Section 6 of this bond and in the first paragraph of this General Agreement, or
of this bond.                                                                             if the Underwriter elects not to defend any causes of action, neither a judgment
                                                                                          against the Insured, nor a settlement of any legal proceeding by the Insured,
                                      JOINT INSURED                                       shall determine the existence, extent or amount of coverage under this bond
         D. If two or more Insureds are covered under this bond, the first named          for loss sustained by the Insured, and the Underwriter shall not be liable for any
Insured shall act for all Insureds. Payment by the Underwriter to the first               attorneys' fees, costs and expenses incurred by the Insured.
named Insured of loss sustained by any Insured shall fully release the                           With respect to this General Agreement, subsections (b) and (d) of
Underwriter on account of such loss. if the first named insured ceases to be              Section 5 of this bond apply upon the entry of such judgment or the occurrence
covered under this bond, the Insured next named shall thereafter be                       of such settlement instead of upon discovery of loss. In addition, the Insured
considered as the first named Insured. Knowledge possessed or discovery                   must notify the Underwriter within 30 days after such judgment is entered
made by any insured shall constitute knowledge or discovery by all insureds               against it or after the insured settles such legal proceeding, and, subject to
for all purposes of this bond. The liability of the Underwriter for loss or losses        subsection (e) of Section 5, the Insured may not bring legal proceedings for the
sustained by all Insureds shall not exceed the amount for which the                       recovery of such loss after the expiration of 24 months from .the date of such
Underwriter would have been liable had all such loss or losses been                       final judgment or settlement.
sustained by one Insured
                                                                        CONDITIONS AND LIMITATIONS
                                          DEFINITIONS                                                      an employee of an institution merged or consolidated with
        Section 1. As used in this bond:                                                                   the Insured prior to the effective date of this bond; and
              (a) Acceptance means a draft which the drawee has, by signature                              each natural person, partnership or corporation authorized
        written thereon, engaged to honor as presented.                                                    by the Insured to perform services as data processor of
              (b) Certificate of Deposit means an acknowledgment in writing by a                           checks or other accounting records of the Insured (not
        financial institution of receipt of Money with an engagement to repay It.                          including preparation or modification of computer software
              (c) Certificate of Origin or Title means a document Issued by a                              or programs), herein called Processor. Each such
        manufacturer of personal property or a governmental agency evidencing                              Processor, and the partners, officers and employees of
        the ownership of the personal property and by which ownership Is                                   such Processor shall, collectively, be deemed to be one
        transferred.                                                                                       Employee for all the purposes of this bond, excepting,
              (d) Certificated Security means a share, participation or other                              however, the second paragraph of Section 12.A Federal
        interest in property of or an enterprise of the issuer or an obligation of the                     Reserve Bank or clearing house shall not be construed to
       Issuer, which is:                                                                                   be a processor.
                          represented by an instrument issued In bearer or                            Evidence of Debt means an instrument, including a Negotiable
                          registered form;                                               Instrument, executed by a customer of the Insured and held by the
                          of a type commonly dealt In on securities exchanges or         Insured which In the regular course of business is treated as evidencing
                          markets or commonly recognized In any area in which it is      the customer's debt to the Insured.
                          issued or dealt In as a medium for Investment; and                          Forgery means the signing of the name of another person or
                          either one of a class or series or by its terms divisible into organization with intent to deceive; it does not mean a signature which
                          a class or series of shares, participations, interests or      consists in whole or in part of one's own name signed with or without
                          obligations.                                                   authority, in any capacity, for any purpose.
              (e) Counterfeit means an imitation which is intended to deceive and               M Guarantee means a written undertaking obligating the signer to
       to be taken as the original.                                                      pay the debt of another to the Insured or its assignee or to a financial
              (f) Document of Title means a bill of lading, dock warrant, dock           institution from which the Insured has purchased participation in the debt,
       receipt, warehouse receipt or order for the delivery of goods, and also any       if the debt is not paid in accordance with its terms.
       other document which in the regular course of business or financing is                   (k) Letter of Credit means an engagement in writing by a bank or
       treated as adequately evidencing that the person in possession of it is           other person made at the request of a customer that the bank or other
       entitled to receive, hold and dispose of the document and the goods It            person will honor drafts or other demands for payment upon compliance
       covers and must purport to be issued by or addressed to a bailee and              with the conditions specified in the Letter of Credit.
       purport to cover goods in the bailee's possession which are either                       (I) Loan means all extensions of credit by the Insured and all
       identified or are fungible portions of an identified mass.                        transactions creating a creditor relationship in favor of the Insured and all
             (g) Employee means                                                          transactions by which the Insured assumes an existing creditor
                          an officer or other employee of the Insured, while             relationship.
                          employed in, at, or by any of the Insured's offices or                      Money means a medium of exchange In current use authorized
                          premises covered hereunder, and a guest student                or adopted by a domestic or foreign government as a part of its currency.
                          pursuing studies or duties in any of said offices or                        Negotiable Instrument means any wilting
                          premises;                                                                        signed by the maker or drawer; and
                          a person provided by an employment contractor to perform                         containing any unconditional promise or order to pay a
                     employee duties for the Insured under the Insured's supervision                       sum certain in Money and no other promise, order,
                     at any of the Insured's offices or premises covered hereunder,                        obligation or power given by the maker or drawer; and




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                        Is payable on demand or at G .inite time; and                                    (2) to , .amage to the premises or property of the
                        is payable to order or bearer.                                                   Insured, except when covered under Insuring Agreement
                  Property means Money, Certificated Securities, Negotiable                              (A);
    Instruments, Certificates of Deposit. Documents of Title, Acceptances,                  (n) indirect or consequential loss of any nature;
    Evidences of Debt, Security Agreements, Certificates of Origin or Title,                (o) loss resulting from any violation by the Insured or by any
    Letters of Credit, insurance policies, abstracts of title, deeds and              Employee
    mortgages on real estate, revenue and other stamps, and books of                                     of law regulating (i) the issuance, purchase or sale of
    account and other records whether recorded in writing or electronically.                             securities, OD securities transactions upon security
                 Security Agreement means an agreement which creates an                                  exchanges or over the counter market. (iii) investment
    interest in personal property or fixtures and which secures payment or                               companies, or (iv) investment advisers, or
    performance of an obligation.                                                                        of any rule or regulation made pursuant to any such law,.
                 Transportation Company means any organization which                 unless it is established by the Insured that the act or acts which caused
    provided its own or leased vehicles for transportation or which provides         the said loss involved fraudulent or dishonest conduct which would have
    freight forwarding or air express services.                                      caused a loss to the Insured in a similar amount in the absence of such
                                       EXCLUSIONS                                    Jaws, rules or regulations;
    Section 2. This bond does not cover                                                    (p) loss resulting directly or Indirectly from the failure of a financial
           (a) loss resulting directly or indirectly from forgery or alteration,     or depository institution, or its receiver or liquidator, to pay or deliver, on
   except when covered under Insuring Agreements (A), (D), or (E);                   demand of the Insured, funds or Property of the Insured held by it in any
           (b) under Insuring Agreement (D), loss resulting from the forgery or      capacity, except when covered under Insuring Agreements (A) or
   alteration of or on a Negotiable Instrument Issued by the Insured In              (8)(1)(a);
   reliance upon a forged or altered Evidence of Debt;                                     (q) damages resulting from any civil, criminal or other legal
          (c) loss due to riot or civil commotion outside the United States of       proceeding in which the Insured is alleged to have engaged in
   America and Canada; or loss due to military, naval or usurped power, war          racketeering activity except when the Insured establishes that the act or
   or insurrection unless such loss occurs In transit in the circumstances           acts giving rise to such damages were committed by an Employee under
   recited in Insuring Agreement (C), and unless, when such transit was              circumstances which result directly In a loss to the Insured covered by
   initiated, there was no knowledge of such riot, civil commotion, military,        Insuring Agreement (A). For the purposes of this exclusion, "racketeering
   naval or usurped power, war or Insurrection on the part of any person             activity" is defined in 18 United States Code 1961 et seq., as amended;
   acting for the Insured in initiating such transit;                                      (r) loss resulting directly or indirectly from any dishonest or
          (d) loss resulting directly or indirectly from the effects of nuclear      fraudulent act or acts committed by any non-Employee who is a
   fission of fusion or radioactivity; provided, however, that this paragraph        securities, commodities, money, mortgage, real estate, loan, insurance,
   shall not apply to loss resulting from industrial uses of nuclear energy;         property management. Investment banking broker, agent or other
          (e) loss resulting directly or indirectly from any acts of any director    representative of the same general character;
— of the Insured other than one-employed -as-a- salaried,- pensioned -or                                    th-at-
                                                                                                                 part of any loss, as the case may be, the proof of
   elected official or an Employee of the Insured, except when performing            which, either as to its factual existence or as to its amount, is dependent
   acts coming within the scope of the usual duties of an Employee, or while         upon an inventory computation or a profit and loss computation;
   acting as a member of any committee duly elected or appointed by                               loss resulting directly or indirectly from counterfeiting, except
  resolution of the board of directors of the Insured to perform specific, as        when covered under Insuring Agreements (A), (E), or (F);
  distinguished from general, directorial acts on behalf of the Insured;                          all fees, costs and expenses incurred by the Insured
          (f) loss resulting directly or indirectly from the complete or partial                        in establishing the existence of or amount of loss covered
  nonpayment of, or default upon, any Loan or transaction Involving the                                 under this bond, or
  Insured as a lender or borrower, or extension of credit, including the                                as a party to any legal proceeding whether or not such
  purchase, discounting or other acquisition of false or genuine accounts,                              legal proceeding exposes the Insured to loss covered by
  invoices, notes, agreements or Evidences of Debt, whether such Loan.                                  this bond.
  transaction or extension we's procured in good faith or through trick,                                                  DISCOVERY
  artifice, fraud or false pretenses; except when covered under Insuring                   Section 3. This bond applies to loss discovered by the Insured during
  Agreements (A), (D) or (E);                                                       the Bond Period. Discovery occurs when the Insured first becomes aware
         (g) loss of Property while                                                  of facts which would cause a reasonable person to assume that a loss of
                       in the mail, or                                              a type covered by this bond has been or will be incurred, regardless of
                       in the custody of any Transportation Company, unless         when the act or acts causing or contributing to such loss occurred, even
                       covered under Insuring Agreement (C)                         though the exact amount or details of loss may not then be known.
 except when covered under Insuring Agreement (A);                                        Discovery also occurs when the Insured receives notice of an actual
         (h) loss caused by an Employee, •except when covered under                 or potential claim In which it is alleged that the Insured is liable to a third
 Insuring Agreement (A) or when covered under Insuring Agreement (B) or             party under circumstances which, if true, would constitute a loss under
 (C) and resulting directly from misplacement, mysterious unexplainable             this bond.
 disappearance or destruction of or damage to Property;                                                              LIMIT OF LIABILITY
         (i) loss resulting directly or indirectly from trading, with or without          Section 4.
 the knowledge of the Insured, whether or not represented by any                                                  Aggregate Umit of Liability
 Indebtedness or balance shown to be due the Insured on any customer's                    The Underwriter's total liability for all losses discovered during the
 account, actual or fictitious, and notwithstanding any act or omission on          Bond Period shown in Item 2 of the Declarations shall not exceed the
 the part of any Employee in connection with any account relating to such           Aggregate Limit of Liability shown In Item 3 of the Declarations. The
 trading, indebtedness, or balance, except when covered under Insuring              Aggregate Limit of Liability shall be reduced by the amount of any
 Agreements (D) or (E);                                                             payment made under the terms of this bond.
         (D loss resulting directly or indirectly from the use or purported use           Upon exhaustion of the Aggregate Umit of Liability by such
 of credit, debit, charge, access, convenience, identification or other cards;            payments:
         (k) potential income, including but not limited to interest and                         The Underwriter shall have no further liability for loss or losses •
 dividends, not realized by the Insured;                                                         regardless of when discovered and whether or not previously
         (I) damages of any type for which the Insured Is legally liable,                        reported to the Underwriter, and
 except compensatory damages, but not multiples thereof, arising directly                        The Underwriter shall have no obligation under General
 from a loss covered under this bond;                                                            Agreement E to continue the defense of the Insured, and upon
         (m) loss through the surrender of Property away from an office of                       notice by the Underwriter to the Insured that the Aggregate
 the Insured as a result of a threat                                                             Limit of Liability has been exhausted, the Insured shall assume
                (1) to do bodily harm to any person, except loss of Property in                  all responsibility for its defense at its own cost.
                      transit in the custody of any person acting as messenger            The Aggregate Umit of Liability shall not be increased or reinstated
                      provided that when such transit was initiated there was no    by any recovery made and applied in accordance with subsections (a), (b)
                      knowledge by the Insured of any such threat, or               and (0) of Section 7. In the event that a loss of Property Is settled by the




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   Underwriter through the use of a lost instrui,        bond, such loss shall not    pages or other material. .s the cost of labor for the actual transcription
   reduce the Aggregate Limit of Liability.                                           or copying of data which shall have been furnished by the Insured In order
                              Single Loss Limit of Liability                          to reproduce such books and other records.
         Subject to the Aggregate Limit of Liability, the Underwriter's liability                   Property other than Money, Securities or Records
   for each Single Loss shall not exceed the applicable Single Loss Limit of
   Liability shown in Item 4 of the Declarations. If a Single Loss is covered               In case of loss of, or damage to, any Property other than Money,
   under more than one Insuring Agreement or Coverage, the maximum                    securities, books of account or other records, or damage covered under
   payable shall not exceed the largest applicable Single Loss Limit of               Insuring Agreement (13)(2), the Underwriter shall not be liable for more
   Liability                                                                          than the actual cash value of such Property, or of items covered under
                                  Single Loss Defined                                 Insuring Agreement (B)(2). The Underwriter may, at its election, pay the
         Single Loss means all coveted loss, including court costs and                actual cash value of, replace or repair such property. Disagreement
   attorneys' fees incurred by the Underwriter under General Agreement E,             between the Underwriter and the Insured as to the cash value or as to the
   resulting from                                                                     adequacy of repair or replacement shall be resolved by arbitration.
               any one act or series of related acts of burglary, robbery or              ASSIGNMENT - SUBROGATION - RECOVERY - COOPERATION
               attempt thereat, In which no Employee Is implicated, or                      Section 7.
               any one act or series of related unintentional or negligent acts             (a) In the event of payment under this bond, the Insured shall
               or omissions on the part of any person (Whether an Employee            deliver, if so requested by the Underwriter, an assignment of such of the
               or not) resulting in damage to or destruction or misplacement of      Insured's rights, title and interest and causes of action as it has against
               Property, or                                                           any person or entity to the extent of the loss payment.
               all acts or omissions other than those specified in (a) and (b)             (b) In the event of payment under this bond, the Underwriter shall
               preceding, caused by any person (whether an Employee or not)          be subrogated to all of the Insured's rights of recovery therefor against
               or in which such person is implicated, or                              any person or entity to the extent of such payment.
               any one casualty or event not specified in (a), (b) or (c)                  (c) Recoveries, whether effected by the Underwriter or by the
        preceding.                                                                   Insured, shall be applied net of the expense of such recovery first to the
                     NOTICE/PROOF - LEGAL PROCEEDINGS                                satisfaction of the Insured's loss which would otherwise have been paid
                             AGAINST UNDERWRITER                                     but for the fact that it Is In excess of either the Single or Aggregate Limit of
        Section 5.                                                                   Liability, secondly, to the Underwriter as reimbursement of amounts paid
               At the earliest practicable moment, not to exceed 30 days, after      In settlement of the Insured's claim, and thirdly, to the Insured In
  discovery of loss, the Insured shall give the Underwriter notice thereof.          satisfaction of any Deductible Amount. Recovery on account of loss of
              Within 6 months after such discovery, the Insured shall furnish        securities as set forth In the second paragraph of Section 6 or recovery
  to the Underwriter proof of loss, duly sworn to, with full particulars.            from reinsurance and/or Indemnity of the Underwriter shall not be deemed
              Lost Certificated Securities listed in a proof of loss shall be        a recovery as used herein.
  identified by certificate or bond numbers if such securities were issued                 (d) Upon the Underwriter's request and at reasonable times and
  therewith.                                                                         places designated by the Underwriter the Insured shall
              Legal proceedings for the recovery of any loss hereunder shall                           submit to examination by the Underwriter and subscribe to
  not be brought prior to the expiration of 60 days after the original proof of                        the same under oath; and
  loss is filed with the Underwriter or after the expiration of 24 months from                         produce for the Underwriter's examination all pertinent
  the discovery of such loss.                                                                          records; and
              If any limitation embodied in this bond is prohibited by any law                         cooperate with the Underwriter In all matters pertaining to
  controlling the construction hereof, such limitation shall be deemed to be                           the loss.
  amended so as to equal the minimum period of limitation provided by                      (e) The Insured shall execute all papers and render assistance to
 such law.                                                                           secure to the Underwriter the rights and causes of action provided for
              This bond affords coverage only in favor of the Insured. No            herein. The Insured shall do nothing after discovery of loss to prejudice
 suit, action or legal proceedings shall be brought hereunder by any one             such rights or causes of action.
 other than the named Insured.
                                     VALUATION                                          LIMIT OF LIABILITY UNDER THIS BOND AND PRIOR INSURANCE
                                                                                           Section 8. With respect to any loss set forth in sub-section (c) of the
        Section 6. Any loss of Money, or loss payable in Money, shall be             final paragraph of Section 4 of this bond which Is recoverable or
 paid, at the option of the Insured, in the Money of the country in which the        recovered in whole or in part under any other bonds or policies issued by
 loss was sustained or in the United States of America dollar equivalent             the Underwriter to the Insured or to any predecessor in interest of the
 thereof determined at the rate of exchange at the time of payment of such           Insured and terminated or cancelled or allowed to expire and in which the
 loss                                                                                period for discovery has not expired at the time any such loss thereunder
                                      Securities                                     is discovered, the total liability of the Underwriter under this bond and
        The Underwriter shall settle in kind Its liability under this bond on        under such other bonds or policies shall not exceed, in the aggregate, the
 account of a loss of any securities or, at the option of the Insured, shall         amount carried hereunder on such loss or the amount available to the
pay to the Insured the cost of replacing such securities, determined by the          Insured under such other bonds or policies, as limited by the terms and
market value thereof at the time of such settlement. In case of a loss of            conditions thereof, for any such loss if the latter amount be the larger.
subscription, conversion or redemption privileges through the                              If the coverage of this bond supersedes In whole or in part the
misplacement or loss of securities, the amount of such loss shall be the             coverage of any other bond or policy of insurance issued by an Insurer
value of such privileges immediately preceding the expiration thereof, if            other than the Underwriter and terminated, cancelled or allowed to expire,
such securities cannot be replaced or have no quoted market value, or is             the Underwriter, with respect to any loss sustained prior to such
such privileges have no quoted market value, their value shall be                    termination, cancellation or expiration and discovered within the period
determined by agreement or arbitration.                                              permitted under such other bond or policy for the discovery of loss
       If the applicable coverage of this bond is subject to a Deductible            thereunder, shall be liable under this bond only for that part of such loss
Amount and/or is not sufficient in amount to indemnify the Insured In full           covered by this bond as Is in excess of the amount recoverable or
for the loss of securities for which claim is made hereunder, the liability of       recovered on account of such loss under such other bond or policy,
the Underwriter under this bond is limited to the payment for, or the                anything to the contrary in such other bond or policy notwithstanding.
duplication of, so much of such securities as has a value equal to the
amount of such applicable coverage.                                                                    OTHER INSURANCE OR INDEMNITY
                       Books of Account and Other Records                                 Section 9. Coverage afforded hereunder shall apply only as excess
                                                                                      over any valid and collectible Insurance or indemnity obtained by the
       In case of loss of, or damage to, any books of account or other               Insured, or by a Transportation Company, or by another entity on whose
records used by the Insured in its business, the Underwriter shall be liable         premises the loss occurred or which employed the person causing the
under this bond only if such books or records are actually reproduced and            loss or the messenger conveying the Property involved.
then for not more than the cost of the blank books, blank




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                                 OWNERSHII-                                                         TERI, .PION OR CANCELLATION
       Section 10. This bond shall apply to loss of Property (1) owned by
 the Insured, (2) held by the Insured in any capacity, or (3) for which the             Section 12. This bond terminates as an entirety upon occurrence of
 Insured Is legally liable. This bond shall be for the sole use and benefit of    any of the following: - (a) 60 days after the receipt by the Insured of a
 the Insured named In the Declarations.                                           written notice from the Underwriter of its desire to cancel this bond, or (b)
                                                                                  immediately upon the receipt by the Underwriter of a written notice from
                          DEDUCTIBLE AMOUNT                                       the Insured of its desire to cancel this bond, or (c) immediately upon the
      Section 11. The Underwriter shall be liable hereunder only for the          taking over of the Insured by a receiver or other liquidator or by State or
 amount by which any single loss, as defined in Section 4, exceeds the            Federal officials, or (d) immediately upon the taking over of the Insured by
 Single Loss Deductible amount for the Insuring Agreement or Coverage             another institution, or (e) Immediately upon exhaustion of the Aggregate
 applicable to such loss, subject to the Aggregate Limit of Liability and the     Limit of Liability, or (f) immediately upon expiration of the Bond Period as
 applicable Single Loss Limit of Liability.                                       set forth in item 2 of the Declarations.
      The Insured shall, In the time and In the manner prescribed in this               This bond terminates as to any Employee or any partner, officer or
 bond, give the Underwriter notice of any loss of the kind covered by the         employee of any Processor - (a) as soon as any Insured, or any director
 terms of this bond, whether or not the Underwriter is liable therefor, and      or officer not in collusion with such person, learns of any dishonest or
 upon the request of the Underwriter shall file with it a brief statement        fraudulent act committed by such person at any time, whether In the
 gMng the particulars concerning such loss.                                       employment of the Insured or otherwise, whether or not of the type
                                                                                 covered under Insuring Agreement (A), against the Insured or any other
                                                                                 person or entity, without prejudice to the foss of any Property then in
                                                                                  transit in the custody of such person, or (b) 15 days after the receipt by
                                                                                 the Insured of a written notice from the Underwriter of its desire to cancel
                                                                                 this bond as to such person.
                                                                                       Termination of the bond as to any Insured terminates liability for any
                                                                                 loss sustained by such Insured which is discovered after the effective date
                                                                                 of such termination.




              In witness whereof, the Underwriter has caused this bond to be executed on the Declarations page.




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                                                             RIDER



           To be attached to and form part of Financial Institution Bond, Standard Form No. 15, No. 8FD1045523

in favor of Briar Capital LP

           It is agreed that

           1. The following is added to Section 2. Exclusions:

           Loss resulting directly or indirectly from the dishonest or fraudulent acts of an Employee if any Insured, or any
           director or officer of an Insured who is not in collusion with such person, knows or knew at any time, of any
           dishonest or fraudulent act committed by such person at any time, whether in the employment of the Insured
           or otherwise, whether or not of the type covered under insuring agreement (A), against the Insured or any
           other person or entity and without regard to whether the knowledge was obtained before or after the
           commencement of this bond. Provided, however, that this exclusion does not apply to loss of any Property
           already in transit in the custody of such person at the time such knowledge was obtained or to loss resulting
           directly from dishonest or fraudulent acts occurring prior to the time such knowledge was obtained.

                This Rider is effective as of 12:01 a.m. on 12/20/2015




          KNOWLEDGE OF PRIOR DISHONESTY RIDER
FOR USE WITH FINANCIAL INSTITUTION BOND.
STANDARD FORM NO. 14, 24. AND 25
REVISED September 2005


SR 6275
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 18 of 63




              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        This endorsement modifies insurance provided under the following:
                             FINANCIAL INSITUTION BOND, STANDARD FORM 15



                                            ERISA ENDORSEMENT

PENSION PLANS - ERISA COMPLIANCE                                   SR6145b, 6/90            RIDER NO.
(JNSURED)                                                          (EFFECTIVE DATE)         (BOND NUMBER)

 Briar Capital LP                                                      12/20/2015           B1D1045523



       It is agreed that:

         "Employee" as used in the attached bond shall include any natural person who
 is a director or trustee of the Insured while such director or trustee is engaged in
 handling funds or other property of any Employee Welfare or Pension Benefit Plan
 owned, controlled or operated by the Insured or any natural person who is a trustee,
 manager, officer or employee of any such Plan.

         If the bond, in accordance with the agreements, limitations and conditions
 thereof, covers loss sustained by two or more Employee Welfare or Pension Benefit
 Plans or sustained by any such Plan in addition to loss sustained by an Insured other
 than such Plan, it is the obligation of the Insured or the Plan Administrator(s) of such
 Plans under Regulations published by the Secretary of Labor implementing Section
 13 of the Welfare and Pension Plans Disclosure Act of 1958 to obtain under one or
 more bonds issued by one or more Insurers an amount of coverage for each such
 Plan at least equal to that which would be required if such Plans were bonded
 separately.

         In compliance with the foregoing, payment by the Company in accordance with
 the agreements, limitations and conditions of the bond shall be held by the Insured,
 or, if more than one, by the Insured first named, for the use and benefit of any
 Employee Welfare or Pension Benefit Plan sustaining loss so covered and to the
 extent that such payment is in excess of the amount of coverage required by such
 Regulations to be carried by said Plan sustaining such loss, such excess shall be
 held for the use and benefit of any other such Plan also covered in the event that
 such other Plan discovers that it has sustained loss covered thereunder.
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                Page 2- PENSION PLANS - ERISA COMPLIANCE




          If money or other property of two or more Employee Welfare or Pension
   Benefit Plans covered under the bond is commingled, recovery for loss of such
   money or other property through fraudulent or dishonest acts of Employees shall be
   shared by such Plans on a pro rata basis in accordance with the amount for which
   each such Plan is required to carry bonding coverage in accordance with the
   applicable provisions of said Regulations.



        The Deductible Amount of this bond applicable to loss sustained by a Plan
  through acts committed by an Employee of the Plan shall be waived, but only up to an
  amount equal to the amount of coverage required to be carried by the Plan because
  of compliance with the provisions of the Employee Retirement Income Security Act of
  1974.



         Nothing herein contained shall be held to vary, alter, waive or extend any of
  the terms, conditions, provisions, agreements or limitations of the bond, other than as
  stated herein.



All other terms and conditions of the Bond remained unchanged.
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                                              RIDER


    To be attached to and form part of Financial Institution Bond, Standard Form No.15 , No. BFD1045523
in favor of Briar Capital LP

            It is agreed that:

            1.The attached bond is amended by adding an Insuring Agreement as follows:

                                         COMPUTER SYSTEMS FRAUD

                Loss resulting directly from a fraudulent

                         entry of Electronic Data or Computer Program into, or

                         change of Electronic Data or Computer Program within

                    any Computer System utilized by the Insured, whether owned or leased; or any
                    Computer system identified in the application for this bond; or a Computer
                    System first used by the Insured during the Bond Period, as provided by General
                    Agreement B of this bond;

                provided that the entry or change causes

                        Property to be transferred, paid or delivered

                        an account of the Insured, or of its customer, to be added, deleted, debited
                        or credited, or

                        an unauthorized account or a fictitious account to be debited or credited.


               In this Insuring Agreement, fraudulent entry or change shall include such entry or change
               made by an Employee of the Insured acting in good faith on an instruction from a software
               contractor who has a written agreement with the Insured to design, implement or service
               programs for a Computer System covered by this Insuring Agreement.


           2. In addition to the Conditions and Limitations in the bond, the following, applicable to
               the Computer Systems Fraud Insuring Agreement, are added:


                                                  DEFINITIONS


                    Computer Program means a set of related electronic instructions which direct the
                    operations and functions of a computer or devices connected to it which enable
                    the computer or devices to receive, process, store or send Electronic Data;

                    Computer System means

                      (1) computers with related peripheral components, including storage
                         components wherever located,




                                                                                                     Page 1 of 3
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                   systems and applications software,


                   terminal devices, and


                  related communication networks

         by which Electronic Data are electronically collected, transmitted, processed, stored
         and retrieved;

         (C) Electronic Data means facts or information converted to a form usable in
             a Computer System by Computer Programs, and which is stored on
             magnetic tapes or disks, or optical storage disks or other bulk media.

                                             EXCLUSIONS

             loss resulting directly or indirectly from the assumption of liability by the Insured
             by contract unless the liability arises from a loss covered by the Computer
             Systems Fraud Insuring Agreement and would be imposed on the Insured
             regardless of the existence of the contract;

             loss resulting directly or indirectly from negotiable instruments, securities,
             documents or other written instruments which bear a forged signature, or are
             counterfeit, altered or otherwise fraudulent and which are used as source
             documentation in the preparation of Electronic Data or manually keyed into a data
             terminal;

             loss resulting directly or indirectly from

                  mechanical failure, faulty construction, error in design, latent   defect, fire,
                   wear or tear, gradual deterioration, electrical disturbance or electrical
                   surge which affects a Computer System, or

                  failure or breakdown of electronic data processing media, or

                  error or omission in programming or processing;


        (C) loss resulting directly or indirectly from the input of Electronic Data into a
            Computer System terminal device either on the premises of a customer of the
            Insured or under the control of such a customer by a person who had authorized
            access to the customer's authentication mechanism;


        (E) loss resulting directly or indirectly from the theft of confidential information


                                         SERIES OF LOSSES

        All loss or series of losses involving the fraudulent acts of one individual, or involving
        fraudulent acts in which one individual is implicated, whether or not that individual is
        specifically identified, shall be treated as a Single Loss and subject to the Single Loss
        Limit of Liability. A series of losses involving unidentified individuals but arising from
        the same method of operation shall be deemed to involve the same individual and in
        that event shall be treated as a Single Loss and subject to the Single Loss Limit of
        Liability.

                                                                                                     Page 2 of 3
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         The exclusion below, found in financial institution bonds forms 14 and 25, does not
         apply to the Computer Systems Fraud Insuring Agreement.

         "loss involving any Uncertificated Security except an Uncertificated Security of any
         Federal Reserve Bank of the United States or when covered under Insuring
         agreement (A);"

         This rider shall become effective as of 12:01 a.m. standard time on 12/20/2016




                                                           ,fl
                                                             i — RA/t/,

                              BY:
                                              Authorized Representative
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 23 of 63




SR 6196— Computer Systems Fraud Insuring Agreement                  Page 3 of 3
        Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 24 of 63




                                                              RIDER

              To be attached to and form part of Financial Institution, Standard Form No.15 ,
       BFD1045523
       No. Briar Capital LP

       in favor of

               It is agreed that:

               1. The attached bond Is amended:

                        by deleting the numbered paragraph beginning

                       "each natural person, partnership or corporation authorized by the Insured to
                       perform ervices as Data Processor..."

                       from the definition of "employee" in Section 1;

                       by deleting the following from the second paragraph of Section 12:

                       "or any partner, officer or employee of any Processor"

              2. This rider shall become effective as of 12:01 a.m. on 12/20/2015




                                                        THE HANOVER INSURANCE COMPANY




                                                        BY:
                                                                         Anne Pandolfe , Authorized Agent




DELETE DATA PROCESSING COVERAGE
FOR USE WITH FINANCIAL INSTITUTION BOND,
STANDARD FORMS NOS. 14, 15 and 25, to
DELETE DATA PROCESSING COVERAGE.
REVISED JANUARY, 2004.
SR 6100f
Copyright The Surety Association of America,
2004
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 25 of 63




                                                     RIDER



       To be attached to and form part of Financial Institution, Standard Form No. 15 ,
Policy No. BFD1045523

in favor of Briar Capital LP


       It is agreed that:

       I. The attached bond is amended by adding an Insuring Agreement as follows:



                               VOICE INITIATED TRANSFER FRAUD



         Loss resulting directly from the Insured having, in good faith, transferred Funds from a
          Customer's account through a Computer System covered under the terms of the Computer
          Systems Fraud Insuring Agreement in reliance upon a fraudulent voice instruction transmitted by
          telephone which was purported to be from



                an officer, director, partner or employee of a Customer of the Insured who was authorized
                by the Customer to instruct the Insured to Make such transfer,

                an individual person who is a Customer of the Insured, or

                an Employee of the Insured in another office of the Insured who was authorized by the
                Insured to instruct other Employees of the Insured to transfer Funds, and was received by
                an Employee of the Insured specifically designated to receive and act upon such
                instructions,



       but the voice instruction was not from a person described in (1), (2), or (3) above, provided that



               (I) such voice instruction was electronically recorded by the Insured and required
                     password(s) or code word(s) given; and

               (ii) if the transfer was in excess of $100,000, the voice instruction was verified by a
                      callback according to a prearranged procedure.
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      Page 2- Voice Initiated Transfer Fraud Insuring Agreement




    In this Insuring Agreement:

        Customer means an entity or individual which has a written agreement with the Insured
    authorizing the Insured to rely on voice instructions to make transfers and which has provided the
    Insured with the names of persons authorized to initiate such transfers and with which the Insured
    has established an instruction verification mechanism.



        Funds means Money on deposit in an account.



      In addition to the Conditions and Limitations in the bond and Computer Systems Fraud
    Insuring Agreement rider, the following provisions are applicable to the Voice Initiated Transfer
    Fraud Insuring Agreement:



     This Insuring Agreement does not cover loss resulting directly or indirectly from the assumption
      of liability by the Insured by contract unless the liability arises from a loss covered by this
      Insuring Agreement and would be imposed on the Insured regardless of the existence of the
      contact.

     Proof of loss for claim under the Voice Initiated Transfer Insuring Agreement must include
      electronic recording of such voice instructions and the verification call-back, if such call was
      required.



    All other terms, conditions and limitations remain the same except as herein expressly
   modified.


   2. This rider shall become effective as of 12:01 a.m. on 12/20/2015




                                                 THE HA.NOVER INSURANCE COMPANY




                                                 BY:
                                                          Anne Pandolfe , Authorized Agent
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 27 of 63




                                                        RIDER


       To be attached to and form part of Financial Institution, Standard Form No. 15 ,
Policy No. BFD1045523

in favor of Briar Capital LP


       It is agreed that:

       I. The attached bond is amended.by adding an Insuring Agreement as follows:



                                TELEFACSIME TRANSFER FRAUD



         Loss resulting directly from the Insured having, in good faith, transferred or delivered Funds,
          Certificated Securities or Uncertificated Securities through a Computer System covered under
          the terms of the Computer System Fraud Insuring Agreement in reliance upon a fraudulent
          instruction received through a Telefacsimile Device, and which instruction



         (1)    purports and reasonably appears to have originated from

                   a Customer of the Insured,

                    another financial institution, or

                   another office of the Insured

                but, in fact, was not originated by the Customer or entity whose identification it bears and



         (2)   contains a valid test code which proves to have been used by a person who was not
               authorized to make use of it and,



        (3)    contains the name of a person authorized to initiate such transfer; and



        provided that, if the transfer was in excess of $100,000, the instruction was verified by a call-
         back according to a prearranged procedure.
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 28 of 63




     Page 2 - Telefacsimile Transfer Fraud Insuring Agreement


      In this Insuring Agreement, Customer means an entity or individual which has a written
       agreement with the Insured authorizing the Insured to rely on Telefacsimile Device instructions
       to initiate transfers and has provided the Insured with the names of persons authorized to initiate
       such transfers, and with which the Insured has established an instruction verification
       mechanism.



      In addition to the Conditions and Limitations in the bond and Computer Systems Fraud Insuring
       Agreement rider, the following provisions are applicable to the Telefacsimile Transfer Fraud
       Insuring Agreement:

     Telefacsimile Device means a machine capable of sending or receiving a duplicate image of a
      document by means of electronic impulses transmitted through a telephone line and which
      reproduces the duplicate image on paper.



     This bond does not cover loss resulting directly or indirectly from the assumption of liability by
      the Insured by contract unless the liability arises from a loss covered by the Telefacsimile
      Transfer Fraud Insuring Agreement and would be imposed on the Insured regardless of the
      existence of the contract.



     Proof of loss for claim under the Telefacsimile Transfer Fraud Insuring Agreement must include
      a copy of the document reproduced by the Telefacsimile Device.



     The exclusion below, as found in the attached bond, does not apply to the Telefacsimile Transfer
      Fraud Insuring Agreement.

     "loss involving any Uncertificated Security except an Uncertificated Security of any Federal
       Reserve Bank of the United States or when covered under Insuring Agreement (A);"

     All other terms, conditions and limitations remain the same except as herein expressly modified.


   2. This rider shall become effective as of 12:01 a.m. on 12/20/2015




                                                THE HANOVER INSURANCE COMPANY




                                                BY:
                                                Anne Pandolfe , Authorized Agent
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 29 of 63




 If this rider is added at inception, the following need not be completed.

 Bond Number: BFD1045523

                  THIS RIDER CHANGES THE BOND. PLEASE READ IT CAREFULLY.

                                             RIDER NUMBER 11

 This rider modifies insurance provided under the following:

                                      FINANCIAL INSTITUTION BOND

It is agreed that Insuring Agreement (D) Forgery or Alteration is amended by adding the following
paragraphs:

Loss resulting directly from the Insured accepting, paying or cashing any Negotiable Instrument (except
Evidence of Debt) or Withdrawal Orders that bear unauthorized signatures or endorsements shall be
deemed a Forgery Loss under this Insuring Agreement. It shall be a condition precedent to the Insured's
right of recovery for loss under this paragraph, that the Insured shall have on file signatures of all persons
who are authorized to sign such Negotiable Instruments or Withdrawal Orders.

For the purposes of the Rider only, the definition of Forgery contained in sub-section (i) of the Conditions
and Limitations of the attached bond does not apply.

The Limit of Liability on this Rider is $ 100 000

The Deductible on this Rider is $ 10 000 .

This rider shall be effective as of 12:01 a.m. on 12/20/2015 .

Nothing herein contained shall be held to vary, alter, waive or extend any of the terms, limitations,
conditions or provisions of the attached bond other than as above stated.



                                                            THE HANOVER INSURANCE COMPANY




                                                            BY:
                                                                             Attorney-in-Fact




Form 181-1230 (5-97)
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 30 of 63




                                               RIDER TIIC 100

                               AUDIT EXPENSE/IIIDELITY CLAIMS EXPENSE

          To be attached to and form part of Bond No.BFD1045523

  in favor of      Briar Capital LP

  effective as of 12/20/2015

          It is agreed that:

            The following is inserted as subsection (A) (1) 'AUDIT EXPENSE' of Insuring
            Agreement (A) 'FIDELITY'.

   (A) (1) AUDIT EXPENSE                   $ 100,000

          Expense incurred by the Insured for that part of the cost of audits or examinations
          required by State or Federal supervisory authorities to be conducted either by such
          authorities or by independent accountants by reason of the discovery of loss sustained
         by the Insured through dishonest or fraudulent acts of any Employee which constitute
         a valid and collectible loss under Insuring Agreement (A) 'FIDELITY'. The total
         liability of the Underwriter for such expense by reason of such acts of any Employee
         or in which such Employee is concerned or implicated is limited to the amount stated
         above opposite "AUDIT EXPENSE"; it being understood, however, that such
         expense shall be deemed to be loss sustained by the Insured through dishonest or
         fraudulent acts of one or more of the Employees and the liability of the Underwriter
         under this paragraph of Insuring Agreement (A) shall be part of and not in addition to
         the Limit of Liability stated in Item 3 of the Declarations.


            The following is inserted as subsection (A) (2) 'FIDELITY CLAIMS
            EXPENSE' of Insuring Agreement (A) 'FIDELITY':



   (A) (2) FIDELITY CLAIMS EXPENSE              $100,000

         Reasonable expenses necessarily incurred and paid by the Insured in preparing any
         claim for loss caused by dishonest or fraudulent acts of any of the Insured's
         Employees which loss constitutes a valid and collectible loss under Insuring
         Agreement (A) 'FIDELITY' and exceeds the Single Loss Deductible Amount
         applicable to Insuring Agreement (A) 'FIDELITY'. The liability of the Underwriter
         under this paragraph of Insuring Agreement (A) shall be in addition to the Limit of
         Liability stated in Item 3 of the Declarations.
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    Page 2 - Audit Expense / Fidelity Claims Expense


      3. The following paragraph is substituted for 'EXCLUSIONS' Section 2
         subsection (u):

                   "(u) all fees, costs and expenses incurred by the Insured

                            in establishing the existence of or amount of loss covered
                            under this bond, except to the extent covered under Insuring
                            Agreement (A) (1) 'AUDIT EXPENSE' or (A) (2)
                            'FIDELITY CLAIMS EXPENSE' or

                            as a party to any legal proceeding whether or not such legal
                            proceeding exposes the Insured to loss covered by this bond."

      4. Any amount(s) payable under paragraphs I. and 2. of this rider shall be paid to
         the Insured at the same time as the payment of the valid and collectible claim
         under Insuring Agreement (A) 'FIDELITY'.

     5. All other terms, conditions and limitations remain the same except as herein
         expressly modified.




                                                         THE HANOVER INSURANCE COMPANY

                                                         BY:
                                                                          Authorized Agent
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                                 HIRED & NON-OWNED AUTO SUPPLEMENTAL APPLICATION




     Applicant Name: Riverkids Houston Therapy LLC dba Pediatric Hone Health .:
     Office(s) Address: 2540 East Broadway, Suite K, Pearland, TX 77581
                      2700 Bee Caves Road, #201, Austin, TX 78746
                      414 North Main Street., Euless TX 76039
                                                            AO*
     Description of Operations: Pediatric Hone Health. Cara
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    UNDERWRITING INFORMATION
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    1. Number of employees, volunteers or contract° •                                  Ah.
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                                                                                               Applicant's business?
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    2. Number of drivers from above that fall into each of thbollowinAtegories?              1.‘
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        Regular use of personal auto          ',         pal use of par0alauto

    3. Do any employees, volunteers or contra              usefeutos forVoess purposes? I. 7es 0 No
        If yes:                                                            .
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    7. Do any drivers ever transpo tekVn                                                                         -     9
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                                                tet ants? 0 Yes .12<lo

       If yes:
            In the client's vehicle?          0 Yes 21No
            In the driver's personal vehicle? DYes .ErNo
       c,• Please explain the frequency of such transportation:



       Does the applicant have a formal driver selection program? 0 Yes fallo

       Are MVR's for all drivers secured before their hire?                   es             I

HNOA Sum   (6/16)
Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 33 of 63




           How often are driver MVR's obtained and reviewed?                upon Ivo and. 4hen Cuvrtv-P-RA/
           Do you prohibit driving if a driver is unlicensed, has a suspended/revoked licensed or has a rajor conviction
           such as a DUI/DWI, reckless driving, leaving the scene or other similar driving conviction? El Yes 0 No

          Do any drivers have either moving violatioDs or accidents totaling more than two In the past 3 years or more
          than three in the past 5 years? 0 Yes LPN°

          Do you obtain and verify valid personal auto insurance for each driver annually? liKes 0 No

          If yes, what are the minimum limits of liability that you require for each driver? Mt natitill         gui• cal
          Are written accident reports required and kept on file?                              Iales 0 No

          Is there a follow-up procedure in place for drivers involved in        gentse       0 Yes ago
                                                                      ..,
                                                                        .11t4-'s‘••-•
      26. Is there a penalty/reward system in place for accidents/sa Akivire.                      0 Yes Olo
                                                                    0"          vlii: a
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      17. Do you offer anytype of driver training and/or safe      rams?              ,,".'t
                                                                                      4      c4,44 0 Yes .2 No
                                                                                        /(37.1               -

          If yes, please provide details:

                                                                  vitt), ogt
     18. Has any Hired or Non-owned autoliabAy claim or suit :tra.g.rWe
                                                                      , ;ex brought agaih               e Applicant in the past
         five years?         0 Yes Ad    #61-,,g,

          If yes, please
          explain:                                                  44,„.
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                                                                  /Mr -"WAN.
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     19. Are you aware of any iice,nt or ciretiehstance thaibbuld reasonably be expected to become a Hired or NS-
         Owned auto liability clairrkuskntt- as   4, not. beerilidported to an insurance company?    0 Yes     No
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        ** PLEASE SUBMIT RV' '.5)„.YEAR          CURRENTLY VALUED LOSS RUNS WITH THIS APPLICATION **




HNOA Supp. (6/16)
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 34 of 63




   f/We declare that I/we have reviewed this Application for accuracy before signing it, that the above statements and
   representations are true and correct, and that no facts have been suppressed or misstated. I/We understand that this is
   an application for insurance only and that the completion and submission of this Application does not bind the Company to self
   nor the applicant to purchase this insurance. I/We nevertheless acknowledge that any contract of insurance issued by the
   Company in response to this Application will be in full reliance upon the statements and representations made in this
   Application. Any person who knowingly and with intent to defraud any insurance company or other person, files all application
   for insurance, or statement of claim containing any materially false information or conceals for the purpose of misleading,
  information concerning any material fact, commits a fraudulent insurance act, which is a crime end may also be subject to civil
  penalty. I/We hereby declare that the ab       statements and particulars are true and Vwe agree that this Application shall be
  the basis for any contract of lnsurance)sued by the Company in response to it.

  Signature:        y   N      21-/                                         Curre4te: 09/13/2016
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HNOA Supp. (6/16)
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                                 2017-24250 / Court: 270
 SALE OF ACCOUNTS AND                                                 Each definition of a document in this
                                                             Agreement shall include such document as amended,
 SECURITY AGREEMENT                                          modified, supplemented or restated from time to time
                                                             in accordance with the terms of this Agreement.
 Date: May 8, 2012.
                                                             (f) Except where specifically restricted,
 Forward Components, Inc., a California corporation          reference to a party to this Agreement includes that
 ("Seller") and Briar Capital, LP, a Texas limited           party and its successors and assigns.
 partnership ("Factor" or "Purchaser"), hereby agree
 to the terms and conditions set forth in this Sale of
 Accounts and Security Agreement ("Agreement"):              Section 1.3      Exhibits and Schedules. • All
                                                             Exhibits and Schedules attached hereto are by
 Section 1.1 Definitions. All terms in this Agreement        reference made a part hereof.
 shall have the meanings given those terms in the
 UCC unless expressly defined otherwise in this              Section 2. Purchase & Sale of Accounts.
 Agreement including but not limited to, Exhibit 1.1.
                                                                     Seller hereby offers to sell, assign, transfer,
Section 1.2 Other Referential Provisions.                   convey and deliver to Factor, as absolute owner, in
                                                            accordance with the procedure detailed herein, all of
         Except as otherwise expressly provided             Seller's right, title and interest in and to Seller's
herein, all accounting terms not specifically defined       Accounts and Related Interests.
or specified herein shall have the meanings generally
attributed to such terms under GAAP including                        All Accounts shall be submitted to Factor on
without limitation, applicable statements and               a Schedule of Accounts Sold/Bill of Sale listing each
interpretations issued by the Financial Accounting          Account separately. The Schedule of Accounts
Standards Board and bulletins, opinions,                    Sold/Bill of Sale shall be in the form attached hereto
interpretations and statements issued by the                as Exhibit "2(b)," or in such other form as required
American Institute of Certified Public Accountants or       by Factor, and shall be signed by a person acting or
its committees.                                             purporting to act on behalf of Seller. At the time the
                                                            Schedule of Accounts Sold/Bill of Sale is presented,
         All personal pronouns used in this                 Seller shall also deliver to Factor one copy of an
Agreement, whether used in the masculine, feminine          invoice for each Account together with evidence of
or neuter gender, shall include all other genders; the      shipment, furnishing and/or delivery of the Goods or
singular shall 'include the plural, and the plural shall    rendition of service(s). All invoices shall plainly state
include the singular.                                       on their face the amounts payable hereunder are
                                                            payable to Factor at the remittance address set forth
         The words "hereof", "herein" and                   below.
"hereunder" and words of similar import when used
in this Agreement shall refer to this Agreement as a        P.O. Box 421759
whole and not to any particular provisions of this          Houston TX, 77242-1759
Agreement
                                                                     Factor shall have no obligation to purchase
           Titles of Articles and Sections in this          Accounts, and the decision to do so shall be exercised
Agreement are for convenience only, do not                  in Factor's sole discretion.
constitute part of this Agreement and neither limit
nor amplify the provisions of this Agreement, and all                Factor shall have no liability of any kind for
references in this Agreement to Articles, Sections,         exercising or failing to exercise any rights or
Subsections, paragraphs, clauses, sub clausec,              remedies Factor may have under this Agreement or
Schedules or Exhibits shall refer to the corresponding      otherwise. In the event Factor declines to purchase or
Article, Section, Subsection, paragraph, clause or sub      make advances against Accounts owing from a
clause of, or Schedule or Exhibit attached to, this         Customer, and in advising Seller of such decline
Agreement, unless specific reference is made to the         Factor furnishes Seller with information as to the
articles, sections or other subdivisions or divisions of,   credit standing of the Customer, such information
or to schedules or exhibits to, another document or         shall be deemed to have been requested of Factor by
instrument.                                                 Seller and Factor's advice containing such
                                                            information shall be recognized as a privileged and

                                                                           EXHIBIT
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confidential communication. Seller agrees that such            not cash funds. It is further agreed that with respect to
information shall not be given to Seller's Customer            the balance in the Required Reserve Account, Factor
or to Seller's sales representative(s). Factor shall           is authorized to withhold, without giving prior notice
have the right to charge back to Seller directly or to         to Seller, such payments and credits otherwise due to
Seller's Reserve Account the amount of such Full               Seller under the terms of this Agreement for
Recourse Receivables at any time and from time to              reasonably anticipated claims or to adequately satisfy
time either before or after their payment due date.            reasonably anticipated obligation(s) Seller may owe
Seller agrees to pay Factor upon demand the full               Factor. If an Event of Default has occurred and is
amount thereof, together with all expenses incurred            continuing, or, in the event Seller shall cease selling
by Factor up to the date of such payment, including,           Accounts to Factor, Factor shall be under no
but not limited to, reasonable attorney's fees costs           obligation to pay the amount in the Required Reserve
and disbursements in attempting to collect or enforce          Account until all Accounts listed on all Schedules of
such payment or payment of such Account(s)s                    Accounts have been collected or Factor has
                                                               determined, in its sole discretion, that it will make no
Section 3. Purchase Price and Commissions.                     further efforts to collect any Accounts and all sums
                                                               due Factor hereunder have been paid. Factor shall
          The purchase price that Factor shall pay to          have the right of setoff and recoupment with respect
Seller for each Purchased Account shall equal the Net          to the Reserve Account and any other sums on
Invoice Amount thereof less Factor's factoring                 deposit with Purchaser.
commission, as specified below. No discount, credit,
allowance or deduction with respect to any Purchased                     In Factor's sole discretion, in accordance
Account, unless shown on the face of an invoice,               with the terms of this Agreement, Factor may from
shall be granted or approved by Seller to any                  time to time advance to Seller against the purchase
Customer without Factor's prior written consent                price of Purchased Accounts purchased by Factor
                                                               hereunder, sums up to the lesser of the Maximum
           The purchase price (as computed above),             Line Amount or eighty-five percent (85%) of the
less (i) any Required Reserve Amount or                        aggregate purchase price of Purchased Accounts
credit balance that Factor, in Factor's sole discretion,       outstanding at the time any such advance is made,
determines to hold, (ii) moneys remitted, paid, or             less: (1) Any such Purchased Accounts that are in
otherwise advanced by Factor to or on behalf of                dispute; (2) any such Purchased Accounts that Factor,
Seller (including any amounts which Seller may                 in its sole discretion, deems are owing from a
reasonably be obligated to pay in the future), and (iii)       Customer that is not credit worthy; (3) any such
any other charges including but not limited to                 Purchased Accounts that are unpaid in excess of
Factor's Costs provided for by this Agreement, shall           ninety (90) days past the purchase date (one hundred
be payable by Seller to Factor on the Date of                  and five (105) days if the receivables are due from
Collection.                                                    Honeywell, Inc.) as specified on the original invoice;
                                                               (4) any such Purchased Accounts that are owing from
         Factor shall be entitled to withhold a                a Customer for which the amount of Accounts that
Required Reserve Amount, and may revise, in its sole           are unpaid in excess of ninety (90) days past the
discretion, the Required Reserve Amount or Reserve             purchase date (one hundred and five (105) days if the
Percentage at any time and from time to time if                receivables are due from Honeywell, Inc.) as
Factor deems it necessary to do so in order to protect         specified on the original invoice is equal to or greater
Factor's interests. In no event shall Seller permit a          than twenty-five percent (25%) of the total amount of
Reserve Shortfall to occur. Factor may charge against          all Accounts owing from that Customer, (5) any such
the Required Reserve Account any amount for which              Purchased Accounts which Factor, in its sole
Seller may be obligated to pay Factor at any time,             discretion, deems to be ineligible; and (6) any fees,
whether under the terms of this Agreement, or                  actual or estimated, that are chargeable to the Reserve
otherwise, including, but not limited to, the                  Account Any advance shall be payable on demand.
repayment of any over advance, and any damages
suffered by Factor as a result of Seller's breach of                    For Factor's services hereunder, Seller shall
any provision of Section 4 hereof (whether                     pay and Factor shall be entitled to receive a factoring
intentional or unintentional), any adjustments due and         commission equal to one and one half percent (1.5%)
any attorneys' fees, costs and disbursements due.              of the gross invoice amount of each Purchased
Seller recognizes that the Required Reserve Account            Account, which conunission shall be due and payable
may, to the extent Purchased Accounts remain                   to Factor on the date such Purchased Account arises;
uncollected, represent bookkeeping entries only and            plus, for any Purchased Account which remains

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unpaid in excess of thirty (30) days from the day the        PAYMENT OF THE ADVANCES OR OTHER
Account was purchased, an additional quarter percent         OBLIGATIONS DUE HEREUNDER, SHALL
(0.25%) for each five (5) day period or portion              EVER BE LIABLE FOR ANY OBLIGATION
thereof thereafter until the Purchased Account is paid       THAT MAY BE CHARACTERIZED AS
or charged back by Factor, in its sole discretion.           UNEARNED INTEREST THEREON OR
Factoring commissions shall be chargeable to Seller's        SHALL EVER BE REQUIRED TO PAY ANY
Required Reserve Amount.                                     OBLIGATION THAT MAY                BE
                                                             CHARACTERIZED AS INTEREST THEREON
         For commission calculation purposes,                IN EXCESS OF THE MAXIMUM AMOUNT
collections will be applied against outstanding              THAT MAY BE LAWFULLY CHARGED
invoices; three (3) business days following receipt by       UNDER APPLICABLE LAW FROM TIME TO
mail, one (1) business day following receipt by ACH,         TIME IN EFFECT, AND THE PROVISIONS OF
and on the same day if received by wire at or before         THIS SECTION SHALL CONTROL OVER ALL
11:00 am central time.                                       OTHER PROVISIONS OF THIS AGREEMENT
                                                             WHICH MAY BE IN CONFLICT
        Factor will charge Seller a onetime                  THEREWITH. IF ANY INDEBTEDNESS OR
documentation fee totaling seven hundred fifty               OBLIGATION OWED BY SELLER
dollars ($750). Said fee will be deemed                      HEREUNDER IS DETERMINED TO BE DI
nonrefundable and fully earned upon receipt.                 EXCESS OF THE LEGAL MAXIMUM, OR
                                                             FACTOR SHALL OTHERWISE COLLECT
        Factor's commission is based upon Seller's           MONEYS WHICH ARE DETERMINED TO
maximum selling terms of net ninety (90) days, and           CONSTITUTE INTEREST WHICH WOULD
Seller will not grant additional dating to any               OTHERWISE INCREASE THE INTEREST ON
customer without Factor's prior written approval.            ALL OR ANY PART OF SUCH OBLIGATIONS
                                                             TO AN AMOUNT IN EXCESS OF THAT
      IT IS THE INTENTION OF THE                             PERMITIED TO BE CHARGED BY
PARTIES HERETO THAT AS TO ALL                                APPLICABLE LAW THEN IN EFFECT, THEN
PURCHASED        ACCOUNTS,       THE                         ALL SUCH SUMS DETERMINED TO
TRANSACTIONS CONTEMPLATED HEREBY                             CONSTITUTE INTEREST IN EXCESS OF
SHALL CONSTITUTE A TRUE PURCHASE                             SUCH LEGAL LIMIT SHALL, WITHOUT
AND SALE OF ACCOUNT(S) UNDER TEXAS                           PENALTY, BE PROMPTLY APPLIED TO
BUSINESS AND COMMERCE CODE § 9.318                           REDUCE THE THEN OUTSTANDING
AND CHAPTER 306 OF THE TEXAS FINANCE                         OBLIGATIONS OR, AT FACTOR'S OPTION,
CODE OR ANY OTHER APPLICABLE LAW                             RETURNED TO SELLER OR THE OTHER
AND AS SUCH, THE SELLER SHALL HAVE                           PAYOR THEREOF UPON SUCH
NO LEGAL OR EQUITABLE INTEREST IN                            DETERMINATION. IF AT ANY TIME THE
THE ACCOUNTS SOLD. NEVERTHELESS, IN                          RATE AT WHICH INTEREST IS PAYABLE
THE EVENT ANY PORTION OF THIS                                HEREUNDER (IF ANY) EXCEEDS THE
TRANSACTION IS CHARACTERIZED AS A                            MAXIMUM RATE, THE AMOUNT
LOAN, THE PARTIES HERETO INTEND TO                           OUTSTANDING HEREUNDER SHALL CEASE
CONTRACT IN STRICT COMPLIANCE 'WITH                          BEARING INTEREST UNTIL SUCH TIME AS
APPLICABLE USURY LAW FROM TIME TO                            THE TOTAL AMOUNT OF INTEREST
TIME IN EFFECT. IN FURTHERANCE                               ACCRUED HEREUNDER EQUALS (BUT
THEREOF SUCH PARTIES STIPULATE AND                           DOES NOT EXCEED) THE MAXIMUM RATE
AGREE THAT NONE OF THE TERMS AND                             APPLICABLE HERETO. AS USED IN THIS
PROVISIONS CONTAINED LK THIS                                 SECTION, THE TERM "APPLICABLE LAW"
AGREEMENT SHALL EVER BE CONSTRUED                            MEANS THE LAWS OF THE STATE OF
TO CREATE A CONTRACT TO PAY, FOR                             TEXAS OR, IF DIFFERENT, THE LAWS OF
THE USE, FORBEARANCE OR DETENTION                            THE STATE OR TERRITORY IN WHICH THE
OF MONEY, INTEREST IN EXCESS OF THE                          SELLER RESIDES, WHICHEVER LAW
MAXIMUM RATE (AS HEREINAFTER                                 ALLOWS THE GREATER RATE OF
DEFINED) FROM TIME TO TIME IN EFFECT                         INTEREST, AS SUCH LAWS NOW EXIST OR
UNDER APPLICABLE LAW. NEITHER                                MAY BE CHANGED OR AMENDED OR
SELLER, ANY PRESENT OR FUTURE                                COME INTO EFF.P.:CT IN THE FUTURE AND
GUARANTOR OR ANY OTHER PERSON                                THE TERM "MAXIMUM RATE" MEANS THE
HEREAFTER BECOIVDNG LIABLE FOR THE                           MAXIMUM NONUSURIOUS RATE OF

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INTEREST THAT FACTOR IS PERMITTED                               state of its incorporation or organization and is
UNDER APPLICABLE LAW TO CONTRACT                                qualified and authorized to do business and is in good
FOR, TAKE, CHARGE OR RECEIVE WITH                               standing in all states in which such qualification and
RESPECT TO THE ADVANCES.                                        good standing are necessary or desirable.

          Transfer. Upon Factor's acceptance of each                      The execution, delivery and performance by
Purchased Account, Factor shall be the sole owner               Seller of this Agreement does not and will not
and holder of such Purchased Account Seller hereby              constitute a violation of any applicable law, violation
sells, transfers, conveys and assigns to Factor all of          of Seller's articles of incorporation or organization or
its right, title and interest in and to each Purchased          bylaws or operating agreement or any material breach
Account effective at the time of acceptance thereof             of any other document, agreement or instrument to
by Factor. Seller agrees to execute and deliver to              which Seller is a party or by which Seller is bound.
each Account Debtor obligated under an Account
and/or a Purchased Account such written notice of                       The Agreement is a legal, valid and binding
sale of the Purchased Account as Factor may request.            obligation of Seller enforceable against it in
                                                                accordance with its terms.
          Accounting Information. Factor shall
provide Seller with information on. the Purchased                         Immediately prior to the execution and at
Accounts and a monthly reconciliation of the                    the time of delivery of each Schedule of Account,
factoring relationship relating to billing, collection          Seller is the ' sole owner and holder of each of the
and account maintenance such as aging posting,                  Accounts described thereon and that upon Factor's
error resolution and mailing of statements. All of the          acceptance of each Purchased Accounts; it shall
foregoing shall be in a format and in such detail, as           become the sole owner and holder of such Purchased
Factor, in its sole discretion, deems appropriate.              Account(s).
Factor's books and records shall be admissible in
evidence without objection as prima facie evidence of                     No Purchased Account shall have been
the status of the Purchased and non purchased                   previously sold or transferred or be subject to any
Accounts and Required Reserve Account between                   lien, encumbrance, security interest or other claim of
Factor and Seller. Each statement, report, or                   any kind of nature. Seller will not factor, sell,
accounting rendered or issued by Factor to Seller               transfer, pledge or give a security interest in any of its
shall be deemed conclusively accurate and binding on            Accounts to anyone other than Factor. There are no
Seller unless within fifteen. (15) days after the date of       financing statements now on file in any public office
issuance Seller notifies Factor to the contrary by              covering any Collateral of Seller of any kind, real or
registered or certified mail, setting forth with                personal, in which Seller is named or has signed as
specificity the reasons why Seller believes such                the debtor, except the financing statement or
statement, report, or accounting is inaccurate, as well         statements filed or to be filed in respect of this
as what Seller believes to be correct amount(s)                 Agreement or those statements now on file that have
therefore. Seller's failure to receive any monthly              been disclosed in writing by Seller to Factor as
statement shall not relieve it of the responsibility to         reflected on the attached Exhibit 4(e). Seller will not
request such statement and Seller's failure to do so            execute any financing statement in favor of any other
shall nonetheless bind Seller to whatever Factor's              Person, except Factor, during the Term of this
records would have reported. Seller's delivery of any           Agreement
notice under this section shall not, by itself, deem any
statement, report or accounting rendered or issued by           (t)      The amount of each Purchased Account is
Factor inaccurate.                                              due and owing to Seller and represents an accurate
                                                                statement of a bona fide sale, delivery and acceptance
                                                                of Goods or performance of service by Seller to or
Section 4. Seller's Representations and Covenants.              for an Account Debtor pursuant to an ames length
Seller, as well as each of Seller's principals, officers,       transaction. The terms for payment of Purchased
managers, members, and/or partners represent,                   Accounts are not more than seventy-five (75) days
warrant, and covenant to Factor that                            from date of invoice and the payment of such
                                                                Purchased Accounts is not contingent upon the
(a)       Seller is either a corporation, limited               fulfillment by Seller of any further performance of
liability company, limited partnership or other form            any nature whatsoever. Each Account Debtor's
of Registered Organization, is duly organized, validly          business is solvent to the best of Seller's knowledge.
existing and in good standing under the laws of the

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          There are and shall be no set-offs,                   all financial computations and determinations
allowances, discounts, deductions, counterclaims, or            pursuant hereto shall be made in accordance with
disputes with respect to any Purchased Account                  GAAP, consistently applied.
either at the time it is accepted by Factor for Factor or
prior to the date it is to be paid. Seller shall inform         (i)      Seller has paid and will pay all taxes and
Factor, in writing, immediately upon learning that              governmental charges imposed with respect to sale of
there exists any Account, which is subject to a                 Goods and furnish to Factor upon request satisfactory
Dispute. Seller shall accept no returns and shall grant         proof of payment and compliance with all federal,
no allowance or credit to any Account Debtor                    state and local tax requirements.
without notice to and the prior written approval of
Factor. Seller shall provide to Factor for each                 (k)      Seller will immediately notify Factor of (i)
Account Debtor who is indebted on a Purchased                   the filing of any lawsuit against Seller involving
Account that has been purchased, a weekly report in             amounts greater than $10,000.00, and (ii) any
a form and substance satisfactory to Factor itemizing           attachment or any other legal process levied against
all such returns and allowances made during the                 Seller.
previous week with respect to such Purchased
Accounts and at Factor's option a check (or wire                (1)       The Application made or delivered by or on
transfer) payable to Factor for the amount thereof or           behalf of Seller in connection with this Agreement,
in Factor's sole and exclusive discretion, Factor may           and the statements made therein are true and correct
accept the issuance of a Credit Memo and apply same             at the time that this Agreement is executed. There is
to Seller's Required Reserve Account.                           no fact which Seller has not disclosed to Factor in
                                                                writing which could materially and adversely affect
         Seller's address, as set forth in any                  the properties, business or financial condition of
Application submitted to Factor, is Seller's mailing            Seller, or any of the Purchased Accounts or
address, its chief executive office, principal place a          Collateral, or which is necessary to disclose in order
business and the office where all of the books and              to keep the foregoing representations and warranties
records concerning the Purchased Accounts are                   from being misleading.
maintained which shall not be changed without
giving thirty (30) days prior written notice to Factor.                 The Statement of Authorized Signatures for
                                                                Sale/Assignment of Accounts, the form of which is
         Seller <hall maintain its books and records in         annexed as Exhibit 4(m) and any change in the
accordance with GAAP and shall reflect on its books             persons so authorized shall be given to Factor in
the absolute sale of the Purchased Accounts to                  writing not less than fifteen (15) days prior to such
Factor. Seller shall furnish Factor, upon request such          change.
information and statements, as Factor shall request
from time to time regarding Seller's business affairs,                   In no event shall the funds paid to Seller
financial condition and results of its operations.              hereunder be used directly or indirectly for personal,
Without limiting the generality of the foregoing,               family, household or agricultural purposes.
Seller shall provide Factor, on or prior to the 30e, day
of each month, unaudited financial statements with              (0)     Seller does business under no trade or
respect to the prior month and, within ninety (90)              assumed names except as indicated below:
days after the end of each of Seller's fiscal years,
annual financial statements and such certificates               N/A
relating to the foregoing as Factor may request
including, without limitation, a monthly certificate            (P)       Any invoice or written communication that
from the president and chief financial officer of               is issued by Seller to Factor by facsimile transmission
Seller stating whether any Events of Default have               is a duplicate of the original and may be relied upon
occurred and stating in detail the nature of the Events         by Factor.
of Default. Seller will furnish to Factor upon request
a current listing of all open and unpaid accounts               (c1)     Any electronic communication of data,
payable and Accounts, and such other items of                   whether by e-mail, tape, disk, or otherwise, that
information that Factor may deem necessary or                   Seller remits or causes to be remitted to Factor shall
appropriate from time to time. Unless otherwise                 be authentic and genuine and may be relied upon by
expressly provided herein or unless Factor otherwise            Factor.
consents, all financial statements and reports
furnished to Factor hereunder shall be prepared and

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Section 5. Notice of Purchase. Seller shall authorize            settle, compromise, or assign, in whole or in part, any
Factor to file at such times and places as Factor may            of such Purchased Accounts, or otherwise exercise, to
designate such financing statements, continuations               the maximum extent permitted by applicable law, any
and amendments thereto as are necessary or desirable             other right now existing or hereafter arising with
to give notice of Factor's purchase of the Purchased             respect to any of such Purchased Accounts. If Seller
Accounts under the UCC in effect in any applicable               receives payment of all or any portion of any of such
jurisdiction and Factor's security interest in Seller's          Purchased Accounts or any other Account, Seller
Collateral as provided in Section 6 below.                       shall notify Factor immediately and shall hold all
                                                                 checks and other instruments so received in trust for
Section 6. Collateral. In order to secure the payment            Factor and shall deliver to Factor such checks and
of all obligations of Seller to Factor, in addition to the       other instruments without delay.
sale of Purchased Accounts, Seller hereby grants to
Factor a Security Interest in and lien upon all of               Section 8. Payments Received by Seller. Should
Seller's right, title and interest in and to all of              Seller receive payment of all or any portion of any
Collateral.     Seller agrees to comply with all                 Purchased Account, Seller shall immediately notify
appropriate laws in order to perfect Factor's security           Factor of the receipt of the payment, hold said
interest in and to the Collateral and to execute such            payment in trust for Factor separate and apart from
documents as Factor may, from time to time, requite,             Seller's own property and funds, and shall deliver
and to deliver to Factor a list of all locations of its          said payment to Factor without delay in the identical
Inventory, Equipment and Goods. Seller shall                     form in which received, together with an appropriate
provide written notice to Factor of any change in the            endorsement Should Seller receive any check or
locations at which it keeps its Inventory, Equipment             other payment instrument with respect to a Purchased
and Goods at least thirty (30) days prior to any such            Account or after default any Account and fail to
change. The occurrence of any Event of Default shall             surrender and deliver to Factor said check or payment
entitle Factor to all of the default rights and remedies         instrument witin two (2) business days after Seller
(without limiting the other rights and remedies                  receipt thereof, Factor shall be entitled to charge
exercisable by Factor either prior or subsequent to an           Seller a Misdirected Payment Fee to compensate
Event of Default) as available to a Secured Party                Factor for the additional administrative expenses that
under the Uniform Commercial Code then in effect in              the parties acknowledge is likely to be incurred as a
any other applicable jurisdiction.                               result of such breach. In the event any Goods, the
                                                                 sale of which gave rise to a Purchased Account, are
Section 7. Collection.                                           returned to or repossessed by Seller, such Goods shall
                                                                 be held by Seller in trust for Factor, separate and
         Seller shall notify all Account Debtors and             apart from Seller's own property and subject to
take other necessary or appropriate means to insure              Factor's sole direction and control.
that all of Seller's Account(s), whether or not
purchased by Factor, shall be paid directly to Factor            Section 9. Power of Attorney. Seller grants to Factor
at a remittance address designated by Factor. Factor             an irrevocable power of attorney authorizing and
shall have the right at any time, either before or after         permitting Factor, at its sole option, with or without
the occurrence of an Event of Default, and without               notice to Seller, to do any or all of the following: (a)
notice to Seller, to notify any or all Account Debtors           Endorse the name of Seller on any checks or other
of the assignment to Factor and to direct such                   evidences of payment whatsoever that may come into
Account Debtors to make payment of all amounts                   the possession of Factor regarding Accounts or
due or to become due to Seller directly to Factor. As            Collateral, including checks received by Factor
to any Account proceeds that do not represent                    pursuant to 'Section 7 hereof, (b) Receive, open and
Purchased Accounts and are not allocated to the                  dispose of any mail addressed to Seller and put
Reserve Account, and so long as Seller is not in                 Factor's address on any statements mailed to Account
default, Factor shall be deemed to have received any             Debtors; (c) Pay, settle, compromise, prosecute or
such proceeds of Accounts as a pure pass-through for             defend any action, claim, conditional waiver and
and on account of Seller.                                        release, or proceeding relating to Purchased Accounts
                                                                 or Collateral; (d) Upon the occurrence of an Event of
        Factor, as the sole and absolute owner of the            Default, notify in the name of the Seller, the U.S.
Purchased Accounts, shall have the sole and                      Post Office to change the address for delivery of mail
exclusive power and authority to collect each such               addressed to Seller to such address as Factor may
Purchased Account through legal action or                        designate, provided that Factor shall turn over to
otherwise, and Factor may, in its sole discretion,               Seller all such mail not relating to Purchased

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 Accounts or Collateral; (e) File any financing                 financial statement, profit and loss statement or other
 statement deemed necessary or appropriate by Factor            statement furnished by Seller, or by any other person
 to protect Factor's interest in and to the Purchased           on behalf of Seller, to Factor is not true and correct in
 Accounts or Collateral, or under any provision of this         any material respect; (j) Seller has a federal or state
 Agreement; (f) Effect debits to any Demand Deposit             tax lien filed against any of its properties, or has
 or other account that Seller, or Seller's principals           failed to pay any federal or state tax when due, or
who have executed a guaranty agreement, maintain at             failed to file any federal or state tax form as and
any Bank for any sums due to or from the Seller                 when due; (k) A material adverse change has
under this Agreement; (g) demand, in the Client's               occurred in Seller's financial conditions, business or
name, that any bank that does business with Client              operations; or (I) A change in ownership has occurred
confirm the existence of any Control Agreement;                with respect to twenty five percent (25%) or more of
request in the Client's name any tax or information             Seller's capital stock, or membership, or partnership
return, declaration of estimated tax, or claim for              interest. Upon an Event of Default, all Obligations
refund, and any amendment or supplement thereto,                due Factor shall become immediately due and
including supporting schedules, attachments or lists            payable and Factor shall be entitled to any form of
which are supplemental to, or a part of, the return            equitable relief that may be appropriate without
filed, with irrevocable authority, which authority              having to establish any inadequate remedy at law or
shall be deemed duly designated by the Client's                other grounds other than to establish that any of its
board of directors by resolution and as attorney-in-            Collateral is subject to being improperly used,
fact as authorized by Title 26 of the United States             moved, dissipated or withheld from Factor. Factor
Code; and (i) to do all other things necessary and             shall be entitled to freeze, debit and/or effect a set-off
proper in order to carry out this Agreement The                or recoupment against any fund or account Seller
authority granted to Factor herein is irrevocable until        may maintain with any Bank. In the event Factor
this Agreement is terminated and all Obligations are           deems it necessary to seek equitable relief, including,
fully satisfied. This power of attorney is coupled             but not limited to, injunctive or receivership
with an interest                                                remedies, as a result of an Event of Default, Seller
                                                               waives any requirement that Factor post or otherwise
 Section 10. Default and Remedies. An Event of                 obtain or procure any bond. Alternatively, in the
Default shall be deemed to have occurred hereunder             event Factor, in its sole discretion, desires to procure
and Factor may immediately exercise its rights and             and post a bond, Factor may procure and file with the
remedies with respect to the Purchased Accounts and            court a bond in an amount up to and not greater than
the Collateral under this Agreement, upon the                  $10,000.00 notwithstanding any common or statutory
 happening of one or more of the following (a) Seller          law requirement(s) to the contrary. Upon Factor's
shall fail to pay as and when due any amount owed to           posting of such bond, it Orall be entitled to all
Factor; (b) There shall be commenced by or against             benefits as if such bond was posted in compliance
Seller any voluntary or involuntary case under the             with state Taw. Seller also intentionally and
United States Bankruptcy Code; (c) any assignment              knowingly waives any right it may be entitled to,
for the benefit of creditors; (d) there has been an            including an award of attorney's fees or costs, in the
appointment of a receiver or custodian of Seller or            event any equitable relief sought by and awarded to
any of the Collateral; (e) Seller has become insolvent         Factor is thereafter, for whatever reason(s), vacated,
in that its debts are greater than the fair value of its       dissolved or reversed. All amounts awarded in any
assets, or Seller is generally not paying its debts as         judgment or order shall bear interest at the rate of
they become due; (f) Any involuntary lien,                     18% per annum.
garnishment, attachment or the like shall have issued
against or shall attach to the Purchased Accounts, the         Upon an Event of Default, all of Seller's rights of
Collateral, or any portion thereof, and the same is not        access to any online, intemet services that Purchaser
released within ten (10) days; (g) Seller suffers the          makes available to Seller shall be provisional pending
entry against it of a final judgment for the payment of        Seller's curing of all such Events of Default. During
money in excess of $10,000.00, unless the same is              such period of time, Purchaser may limit or terminate
discharged within thirty (30) days after the date of           Seller's access to Purchaser's online services. Seller
entry thereof or an appeal or appropriate proceeding           acknowledges that the information Purchaser makes
for review thereof is timely taken and a stay of               available to Seller constitutes and satisfies any duty
execution pending such appeal is obtained; (h) Seller          to respond to a Request for an accounting or Request
has breached any covenant, warranty or                         regarding a statement of account that is referenced in
representation set forth herein or same was untrue             Texas Business & Commerce Code Section 9.210 or
when made; (i) Any report, certificate, schedule,              any equivalent section of the Uniform Commercial

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Code of any other applicable jurisdiction. After an        in equity and at law in addition to its rights and
Event of default, the Parties acknowledge that it shall    remedies hereunder. Factor may not be held to have
be presumed commercially reasonable and Purchaser          waived its rights and remedies unless the waiver is in
shall have no duty to undertake to collect any             writing and signed by Factor. A waiver by Factor of a
Account or Account Purchased, including those in           right, remedy or default under this Agreement on one
which Purchaser receives information from an               occasion is not a waiver of any right, remedy or
Account Debtor that a Dispute exists. Furthermore, in      default on any subsequent occasion. Any failure by
the event Purchaser undertakes to collect from or          Factor to exercise, or any delay by Factor in
enforce an obligation of an Account Debtor or other        exercising such right or any other right, shall not in
person obligated on Collateral and ascertains that the     any manner impair the subsequent exercise by Factor
possibility of collection is outweighed by the likely      of any of its rights.
costs and expenses that will be incurred, Purchaser
may at any such time cease any further collection          Section 12. Notices. Any notice or communication
efforts and such action shall be considered                with respect to this Agreement shall be given in
commercially reasonable. Before Seller may, under          writing, sent by (i) personal delivery, or (ii) expedited
any circumstances, seek to hold Purchaser                  delivery service with proof of delivery, or (iii) United
responsible for taking any unconunercially                 States mail, postage prepaid, registered or certified
reasonable action, Seller shall be required to first       mail, return receipt requested, or (iv) prepaid
notify Purchaser, in writing, of all reasons why Seller    telegram, telex or telecopy, so long as proof of such
believes Purchaser has acted in any uncommercially         transmission is maintained, addressed to each party
reasonable manner and advise Purchaser of the action       hereto at its address set forth below or to such other
that Seller believes Purchaser should take. Seller's       address or to the attention of such other person as
sole remedy for any breach alleged to have been            hereafter shall be designated in writing by the
committed by Purchaser of any obligation or duty           applicable party sent in accordance herewith. Any
owed under the Agreement, any other agreement              such notice or communication shall be deemed to
between Seller and Purchaser or any duty or                have been given and received either at the time of
obligation arising out of or related to this Agreement     personal delivery or, in the case of delivery service or
shall be limited to any amount in the Reserve              mail, as of the date of first attempted delivery at the
Account at the time notice of such breach is first         address and in the manner provided herein, or in the
given to Purchaser, in writing. Under no                   case of telegram, telex or telecopy, upon receipt.
circumstances shall Purchaser be liable for any
incidental, special or consequential damages,              Section 13_ Term. The Original Term of this
including, but not limited to, loss of goodwill, loss of   Agreement Omit be from the date hereof until May 8,
profit, or any other losses associated therewith,          2013, provided that this Agreement shall be extended
whether Purchaser did or did not have any reason to        automatically on an annual basis thereafter, unless
know of a loss that may result from any general or         written notice of termination is given by one party
particular requirement of Seller.                          hereto to the other party hereto at least sixty (60)
                                                           days, but not more than ninety (90) days, prior to the
                                                           end of the Original Term or any extension thereof.
Section 11. Cumulative Rights; Waivers. All rights,        Should Seller terminate this Agreement for any
remedies and powers granted to Factor in this              reason prior to the end of any Term, Seller shall not
Agreement, or in any other instrument or agreement         pay Factor an early termination fee. Any such notice
deliver Seller and Factor, or otherwise available to       of termination, however, and notwithstanding
Factor in equity or at law, are cumulative and may be      payment in full of all Obligations by Seller, is
exercised singularly or concurrently with such other       conditioned on Seller's delivery to Factor of a
rights as Factor may have. These rights may be             general release in a form reasonably satis%ctoty to
exercised from time to time as to all or any part of the   Purchaser. Seller understands that this provision
Purchased Accounts purchased hereunder or the              constitutes an intentional and knowing waiver of its
Collateral as Factor, in its sole discretion, may          rights under Texas Business & Commerce Code
determine. In the event that any part of this              Section 9.513 or under an equivalent section of the
transaction between Seller and Factor is construed to      Uniform Commercial Code of any other applicable
be a loan from Factor to Seller, any advances or           jurisdiction. Factor shall not be required to record
payments made as the Purchase Price for all                any terminations or satisfactions of any of Factor's
Purchased Accounts shall be secured by the                 Hens on the Collateral unless and until Seller has
Purchased Accounts and the Collateral and the Factor       executed and delivered to Factor said general release
shall have all rights and remedies available to Factor     and Seller shall have no authority to do so without
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Factor's express written consent Any termination of            under any claim or theory of strict liability, or are
this Agreement shall not affect Factor's security              caused, in whole or in part, by any negligent act or
interest in the Collateral and Factor's ownership of           omission of Factor.
the Purchased Accounts, and this Agreement shall
continue to be effective, until all transactions entered       Section 16. Severability. Each and every provision,
into and obligations incurred hereunder have been              condition, covenant and representation contained in
completed and satisfied in full. Notwithstanding               this Agreement is, and chall be construed to be, a
anything to the contrary herein, and assuming no               separate and independent covenant and agreement. If
default by Seller in which event Factor may terminate          any term or provision of this Agreement shall to any
this Agreement without notice, Factor may terminate            extent be invalid or unenforceable, the remainder of
this Agreement at any time by giving not less than             the Agreement shall not be affected thereby.
thirty (30) days notice, in which event Seller shall not
be obligated to pay any Termination Fee.                       Section 17. Parties in Interest. All grants, covenants
                                                               and agreements contained in this Agreement shall
Section 14. Attorney's Fees. Seller agrees to                  bind and inure to the benefit of the parties hereto and
reimburse Factor for all reasonable attorney's fees,           their respective successors and assigns; provided,
and taxable and non-taxable costs and expenses                 however, that Seller may not delegate or assign any
incurred by Factor in the preparation, negotiation and         of its duties or obligations under this Agreement
enforcement of this Agreement and protecting or                without the prior written consent of Factor. Factor
enforcing its interest in the Accounts or the                  reserves the right to assign its rights and obligations
Collateral, in collecting the Accounts or the                  under this agreement in whole or in part to any
Collateral, or in the representation of Factor in              person or entity_
connection with any bankruptcy case or insolvency
proceeding involving Seller, the Collateral, any               Section 18. Governing Law: Submission to Process
Account Debtor or any Account including any                    and Venue. This agreement shall be deemed a
defense of any Avoidance Claims. Seller hereby                 contract made under the laws of the State of Texas
authorizes Factor, at Factor's sole discretion, to             and chatl be construed and enforced in accordance
deduct such fees, costs and expenses from the                  with and governed by the internal laws of the State of
Required Reserve Account or may make demand                    Texas, without reference to the rules thereof relating
therefore. Notwithstanding the existence of any law,           to conflicts of law. Seller hereby irrevocably submits
statute or rule, in any jurisdiction which may provide         itself to the exclusive jurisdiction of the state and
Seller with a right to attorney's fees, costs, and/or          federal courts located in Texas, and agrees and
expenses, Seller hereby waives any and all rights to           consents that service of process may be made upon it
hereafter seek attorney's fees or costs hereunder and          in any legal proceeding relating to this agreement, the
Seller agrees that Factor exclusively shall be entitled        purchase of Accounts or any other relationship
to indemnification and recovery of any and all                 between Factor and Seller by any means allowed
attorney's fees, and taxable and non-taxable costs and         under state or federal law. Any legal proceeding
expenses in respect to any litigation based hereon,            arising out of or in any way related to this
arising out of, or related hereto, whether under, or in        Agreement, the purchase of Accounts or any other
connection with, this and/or any agreement executed            relationship between Factor and Seller shall be
in conjunction herewith, or any course of conduct,             brought and litigated in only the state or federal
course of dealing, statements (whether verbal or               courts located in the State of Texas in any county in
written) or actions of either party and in. the                which the Factor has a business location, the
enforcement and collection of any judgment entered             selection of which shall be in the exclusive discretion
in such litigation.                                            of Factor. Seller hereby waives and agrees not to
                                                               assert, by way of motion, as a defense or otherwise,
Section 15. Indemnity. Seller hereby indemnifies               that any such proceeding, is brought in any
and agrees to hold harmless and defend Factor for,             inconvenient fonun or that the venue thereof is
from and against any and all claims, judgments,                improper.
liabilities, fees and expenses (including attorney's
fees) which may be imposed upon, threatened or                 Section 19. Complete Agreement. This Agreement,
asserted against Factor at any time and from time to           the written documents executed pursuant to this
time in any way connected with this Agreement or               Agreement, if any, and the acknowledgment
the Collateral. The foregoing indemnification shall            delivered in connection herewith set forth the entire
apply whether or not such indemnified claims are in            understanding and agreement of the parties hereto
any way or to any extent owed, in whole or in part,            with respect to the transactions contemplated herein

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and may not be contradicted by evidence of prior,                tracking, shipment or delivery status of any Goods
contemporaneous, or subsequent oral agreements of                relating to any Purchased Account
the parties. No modification or amendment of or
supplement to this Agreement shall be valid or                            Seller's principal(s) acknowledge that the
effective unless the same is in writing and signed by            duty to accurately complete each Schedule of
the party against whom it is sought to be enforced.              Accounts is critical to this Agreement and as such all
There are no unwritten, oral agreements between the              obligations with respect thereto are nondelegable.
parties.                                                         Each of Seller's principal(s) acknowledge that he/she
                                                                 shall remain fully responsible for the accuracy of
Section 20. Miscellaneous.                                       each Schedule of Accounts delivered to Factor
                                                                 regardless a who is delegated the responsibility to
          Seller acknowledges that there is no, and it           prepare and/or complete such Schedule of Accounts.
will not seek or attempt to establish any, fiduciary
relationship between Factor and Seller, and Seller                        Seller shall indemnify and defend Factor
intentionally and knowingly waives any right to                  from any loss arising out of the assertion of any
assert, now or in the future, the existence or creation          Avoidance Claim. Seller shall notify Factor within
of any fiduciary relationship between Factor and                 two (2) business days of it becoming aware of the
Seller in any action or proceeding (whether by way of            assertion of an Avoidance Claim.
claim, counterclaim, crossclaim or otherwise) for
damages.                                                                  Seller agrees to execute any and all forms
                                                                 (i.e. Forms 8821 and/or 2848) that Factor may
          This Agreement shall be deemed to be one               require in order to enable Factor to obtain and receive
of financial accommodation and not assumable by                  tax information issued by the Department of the
any debtor, trustee or debtor-in-possession in any               Treasury, Internal Revenue Service, or receive refund
bankruptcy proceeding without Factor's express                   checks.
written consent and may be suspended in the event a
petition in bankruptcy is filed by or against Seller.                     Seller will cooperate with Factor in
                                                                 obtaining a control agreement in form and substance
          In the event any of Seller's principals,               satisfactory to Factor with respect to Collateral
officers, directors, manager(s), members, or partners            consisting of Deposit accounts; Investment property;
form a successor entity, whether corporate,                      Letter-of-credit rights; and Electronic chattel paper.
partnership, limited liability company or otherwise,
similar to that of Seller during the term of this                        In order to satisfy any of the Obligations,
Agreement, such entity shall be deemed to have                   Seller (as Receiver) authorizes Purchaser (as
expressly assumed the obligations due Factor by                  Originator) to initiate electronic debit entries to
Seller under this Agreement. Upon the formation of               Payment Processors through the Automated Clearing
any such entity, Factor shall be deemed to have been             House Network to any Receiving Depository
granted an irrevocable power of attorney with                    Financial Institution where a deposit account is
authority to execute, on behalf of the newly formed              maintained by Seller.
successor business, a new UCC-I or UCC-3
financing statement and have it filed with the                   Section 21. Waiver of Jury Trial, Punitive and
appropriate secretary of state or UCC filing office.             Consequential Damages, Etc. Seller and Factor
Factor shall be held-harmless and be relieved of any             hereby (a) irrevocably waive any right either may
liability statement or the resulting perfection of a lien        have to a trial by jury in respect to any litigation
in any of the successor entity's assets. In addition,            at any time arising directly or indirectly out of,
Factor shall have the right to notify the successor              under or in connection with this Agreement or
entity's account debtors of Factor's lien rights, its            any transaction contemplated hereby or
right to collect all Accounts, and to notify any new             associated herewith; (b) Seller irrevocably and
Factor or lender who has sought to procure a                     intentionally and knowingly waives, to the
competing lien of Factor's right is in such successor            maximum extent permitted by law, any right it
entity's assets.                                                 may have to claim or recover in any such litigation
                                                                 any special, exemplary, punitive or consequential
         Seller expressly authorizes Factor to access            damages, or damages other than, or in addition to,
the systems of and/or communicate with any shipping              actual damages and Seller hereby releases and
or trucking company in order to obtain or verify                 exculpates Factor, its officers, directors,
                                                                 employees, agents, attorney's and designees, from

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 any liability arising from any acts under this                 transactions contemplated hereby, in part, as a
 Agreement or in furtherance thereof whether of                 result of the mutual waivers and certifications
 omission or commission, and whether based upon                 contained in this Section.
 any error of judgment or mistake of law or fact,
 except for willful misconduct ; (c) and Seller
 certifies that no party hereto nor any
 representative or agent or counsel for any party
 hereto has represented, expressly or impliedly,
 that such party would not, in the event of
 litigation, seek to enforce the foregoing waivers;
 and (d) Seller acknowledges that Factor has been
 induced to enter into this Agreement and the

 In Witness Whereof, the parties have set their bands and seals on the day and year first hereinabove written.


 BRIAR CAPTEAL,
 A Texas limited partnership

 By: Briar Capital General, LLC,
     a Texas limited liability company,
     its General Partner




             ."..m••••••..•


  Printed Name:          ;




  Title:                  pc/




  Forward Components, Inc.


  By.   114
          ThCA-AA,
  Printed Name:. 5(...b


  Title:
  Address:
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EXHIBIT "1.1"

Definitions to Sale of Accounts and Security Agreement dated May 8, 2012
between Briar Capital, LP and Forward Components Inc.
"Account(s)" includes a right to payment of a monetary obligation, whether or not earned by performance,
(i) for property that has been or is to be sold, leased, licensed, assigned, or otherwise disposed of or (ii) for services
rendered or to be rendered.

"Account Debtor" or "Customer" means any Person who is obligated on an Account, Chattel Paper or General
Intangible.

"Advance" means amounts advanced by Factor to the Seller under this Agreement_

"Agreement" means the Sale of Accounts and Security Agreement, including the Exhibits and any Schedules hereto,
and all amendments, modifications and supplements hereto and thereto and restatements hereof and thereof.

"Application" means each application made by Seller in connection with this Agreement_

"Avoidance Claim" means any claim that any payment received by Factor from or for the account of an
Account Debtor is avoidable under the Bankruptcy Code or any other debtor relief statute.

"Chattel Paper" means a record or records that evidence both a monetary obligation and a security interest
in specific goods, a security interest in specific goods and software used in the goods, a security interest in specific
goods and license of software used in the goods, a lease of specific goods, or a lease of specific goods and license of
software used in the goods.

"Collateral" means and includes all of the Sellers' right, title and interest in and to each of the following,
wherever located and whether now or hereafter existing or now owned or hereafter acquired or arising: Accounts;
Chattel Paper, Commercial Tort Claims; Deposit Accounts; Documents; Equipment; General Intangibles; Goods
(including but not limited to all files, correspondence, computer programs, tapes, disks and related data processing
software which contain information identifying or pertaining to any of the Collateral or any Account Debtor or
showing the amounts thereof or payments thereon or otherwise necessary or helpful in the realization thereon or the
collection thereof); Inventory; Proceeds of Inventory; Investments; Letters of Credit and Letter of Credit rights; and
all Supporting Obligations. All the above whether now owned or hereafter acquired.

"Commercial Tort Claim" means a claim arising in tort with respect to which: (A) The claimant is an
organization; or (B) The claimant is an individual and the claim: (1) arose in the course of the claimant's business or
profession; and (ii) does not include damages arising out of personal injury to or the death of an individual.

"Date of Collection" means the date a check, draft or other item representing payment on an invoice is
received by Factor.

"Default" means any of the events specified in Section 10 of this Agreement that, with the passage of time or giving
of notice or both, would constitute an Event of Default.

"Deposit Account" means any demand, time, savings, passbook or like account maintained with a bank,
savings and loan association, credit union or like organization, other than an account evidenced by a certificate of
deposit that is an instrument under the UCC.

"Disoute" or "Disputed Account" means any claim, whether or not provable, bona fide, or with or without
support, made by an Account Debtor as a basis for refusing to pay a Purchased Account, either in whole or in part,

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including, but not limited to, any contract dispute, charge back, credit, right to return Goods, or other matter which
diminishes or may diminish the dollar amotmt or timely collection of such Account.

"Documents" means a document of title or a receipt of the type described in UCC 47-7201, subsection B.

"Equipment" means Goods other than Inventory.

"Event of Default!" means any of the events specified in Section 10 of this Agreement

"Factor's Costs" means and includes: (a) filing, recording, wiring, publication and search fees incurred by Factor
relating to Seller, all costs and expenses incurred by Factor in the enforcement of its rights and remedies under this
Agreement (b) telephone, facsimile and delivery charges, and all the expenses afield examinations of Seller's Books;
(c) all expenses for travel, lodging and food incurred by Factor's personnel in collecting the Accounts or realizing upon
the Collateral; (d) all costs and expenses incurred in gaining possession      maintaining, handling, preserving, storing,
repairing, shipping, selling, preparing for sale and advertising to sell the Collateral, whether or not a sale is
consummated; (e) all expenses involved in fulfilling in whole or in part any purchase order from an account debtor.

"Financial Inability to Pay" means an Account Debtor's insolvency such that the value of its assets are
exceeded by its fixed, liquidated and non-contingent liabilities.

"Financing Statement" means each Uniform Commercial Code financing statement naming the Factor as
purchaser/secured party and the Seller as Seller/debtor, in connection with this Agreement

"Full Recourse" means that each Account(s) assigned to and purchased by Factor is with full recourse to
Seller and at Seller's sole credit risk

"GAAP" means generally accepted accounting principles consistently applied and maintained throughout the period
indicated and consistent with the prior financial practice of the Person referred to.

"General Intangible" means any personal property, including things in action, other than Accounts, Chattel
Paper, Commercial Tort Claims, Deposit Accounts, Documents, Goods, Inventory, Investment Property, Letters of
Credit rights, Letters of Credit and Money. Payment Intangibles and software, however, are included.

"Goods" means all things that are movable when a security interest attaches. The term does not include
Accounts, Chattel Paper, Commercial Tort Claims, Deposit Accounts, Documents, General Intangibles, Instruments,
Investment Property, Letter of Credit Rights, Letters of Credit or Money.

"Instrument" means a negotiable instrument or any other writing that evidences a right to the payment of a
monetary obligation, is not itself a security agreement or lease, and is of a type that in ordinary course of business is
transferred by delivery with any necessary endorsement or assignment The term does not include (i) Investment
Property, (ii) Letters of Credit, or (iii) writings that evidence a right to payment arising out of the use of a credit or
charge card or information contained on or for us with the card_

"Inventory" means Goods which are leased by Seller as lessor, are held by Seller for sale or lease or to be
furnished under a contract of service or raw materials, work in process, or materials used or consumed in Seller's
business.

"Investment Property" means a security, whether certificated or =certificated, security entitlement securities
account, commodity contract, or commodity account

"Letter of Credit Right" a right to payment or performance under a Letter of Credit, whether or not the
beneficiary has demanded or is at the time entitled to demand payment or performance. The terra does not include
the right of a beneficiary to demand payment or performance under a Letter of' Credit




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"Lien" means, as applied to the property of any Person, the filing of, or any agreement to give, any financing
statement under the UCC or its equivalent in any jurisdiction.

"Maximum Line Amount" means five hundred the:mead dollars ($500,004).

"Misdirected Payment Fee" means fifteen percent (15%) of the amount of any payment on account of a Purchased
Account which has been received by Seller and not delivered in kind to Factor within two (2) business days after the
date of receipt by Seller.

"Net Invoice Amount" means the invoice amount of the Purchased Account, less returns (whenever made),
all selling discounts (at Factor's option, calculated on shortest terms), and credit or deductions of any kind allowed
or granted to or taken by the customer at any time.

"Obligations" means all present and future obligations owing by Seller to Factor whether or not for the
payment of money, whether or not evidenced by any note or other instrument, whether direct or indirect, absolute or
contingent, due or to become due, joint or several, primary or secondary, liquidated or unliquidated, secured or
unsecured, original or renewed or extended, whether arising before, during or after the commencement of any
Bankruptcy Case in which Seller is a Debtor, including, but not limited to, any obligations arising pursuant to letters
of credit or acceptance transactions or any other financial accommodations.

"Original Tenn" means the term of this Agreement as reflected in section 13 and "Tenn" means the
Original Term and any extensions thereof.

"Person" means an individual, corporation, partnership, association, trust or unincorporated organization or a
government or any agency or political subdivision thereof.

"Purchase Price" means the price that Factor pays Seller for each Purchased Account which price shall
equal the Net Invoice Amount less Factor's factoring commission.

"Purchased Account(s)" means an Account which is deemed acceptable for purchase as determined by
Factor in the exercise of its sole credit or business judgment and for which Factor has made payment of
the sum specified in Section 2 of the Agreement constituting Factor's acceptance of an Account.

"Reserve Account" means a bookkeeping entry on the books of the Factor representing an unpaid
portion of the purchase Price, maintained by Factor to ensure Seller's performance with the provisions hereof.

"Reserve Percentage" means fifteen (15%) percent of the face amount of the Purchased Accounts and as
such percent may change in accordance herewith.

"Reserve Shortfall" means the amount by which the Reserve Account is less than the Required Reserve
Amount.

"Required Reserve Amount" means the Reserve Percentage multiplied by the unpaid balance of all
Purchased Accounts.

"Schedule of Accounts" means a form supplied by Factor from time to time wherein Seller lists those Accounts
it requests Factor purchase under the terms of this Agreement

"Security Interest" means the Liens of Factor on and in the Collateral affected hereby or pursuant to the terms hereof
or thereof.

"Supporting Obligation" means a Letter of Credit Right or secondary obligation that supports the payment or
performance of an Account, Chattel paper, a Document, a General Intangible, an Instrument, or Investment
Property.

"Term" means the Original Term or any extension thereof, as applicable.

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"Termination Fee" means a fee payable to Factor in the event Seller terminates this Agreement prior to
the end of the Original Term or Term of this Agreement

"UCC" means the Uniform Commercial Code as in effect from time to time in the State of Texas.




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                        Exhibit 2(b) Schedule of Accounts Sold/Bill of Sale

Client's Name:                                                             Schedule Number

Page       of        Date             20

Invoice                Invoice         Name of Account                                      Invoice
Date                   Number          Debtor                           Location            Amount




TOTAL:

ASSIGNMENT:

KNOW ALL MEN BY THESE PRESENTS, that the undersigned for value received has sold transferred
and assigned and does hereby sell, transfer and assign to Briar Capital, LP (hereinafter called the
"Buyer"), its successors and assigns, in accordance with the provision of that certain Sale of Accounts and
Security Agreement heretofore duly executed and delivered by the undersigned and duly accepted by the
Buyer, and any amendments thereto (hereinafter called the "Agreement"), each Account, listed hereon,
and all right, title and interest of the undersigned in and to such Account(s) and in and to all merchandise,
the sale of which shall have given rise to such Account(s), including all of the undersigned's right of
stoppage in transit replevin and reclamation as an unpaid vendor. Each Account is made a part hereof as if
attached or incorporated herein for specific terms, conditions, provisions and description of said
Account(s).



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For the purpose of inducing the Buyer to purchase such Account(s), the undersigned hereby reaffirms all
warranties under the Agreement applicable to such Account(s) and account debtors. In the event of any
breach of any such warranty, the Buyer, its successors and assigns, shall have such rights, inter alia, as
are provided in the Agreement.

The undersigned in his/her business capacity and PERSONALLY warrants and represents that with
respect to each Account, since the last sale of Accounts by the undersigned to the Buyer, no merchandise
has been returned or rejected, no defense, dispute, claim, offset or counterclaim has developed or has been
asserted with respect to any Account heretofore sold, transferred and assigned by the undersigned to the
Buyer, which has not been or is not contemporaneously being reported in writing by the undersigned to
the Buyer.

IN WITNESS WHEREOF, the undersigned has hereunto set its hand and seal this-ISraday of
  Ako       , 201-2-r--
BY: #1/1hi 1_1.                        Print NameSCG---1A.XL,V-0,5-
    (Signature)




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                                        EXHIBIT 4(m)

      STATEMENT OF AUTHORIZED SIGNATURES FOR SALE/ASSIGNMENT OF
                             ACCOUNTS


 Gentlemen:

 This is to advise you that the persons whose signatures appear below are hereby authorized to
 execute, on behalf of the undersigned corporation, any Schedule of Accounts
 Sold/Bill of Sale of accounts pursuant to the terms of the Sale of Accounts and Security
 Agreement between Briar Capital, LP and Forward Components Inc. dated as of May 8, 2012,
 and you are hereby authorized to accept the said signatures of such persons until such
 authorization is revoked in writing. Each of the persons below have been advised that the
 execution of the Schedule of Accounts Sold is a non-delegable duty and that each is deemed to
 have made the representations, warranties and covenants as provided in the Sale of Accounts and
 Security Agreement with each Schedule.

 Very truly yours,



BY:     OttiS)t

Date:   NALL-LA, 8          , 2012.
AUTHORIZED SIGNATURES:


 514317 Lt.) it_k4.05- .
Typed or Printed Name


1.0"41A.4 cow\OWie...c3:14tYL-
Typed orVrinted Name



Typed or Printed Name                                                     Signature



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Typed or Printed Name                                     Signature




                              EXHIBIT "4(e)"

                            DISCLOSED LIENS




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 UCC FINANCING STATEMENT
 FOLLOW /NSTRUCTIONS (front and beck) CAREFULLY                                            12-7309612940
   NAME & PHONE OF CONTACT AT TILER (optional)

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               Capitol Corporate Services, Inc.
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       oacwarAnoas NAME
     Forward Components, Inc.
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     vo. ism/watts IASI MAME                                   parr tome                              MIDDLE NAME                           eLMFDI


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                             DEBTOR                                                                                                            DRONE
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      31 OfIEWIZATIONS NAME
      Brier Capital, LP.
      lb. INDIVIDUAL'S liASt NAME                                     KEW NAME                                 LDCANZ NAME                  MOM



 1500 City West, Sutte 420                                             Houston                                   TX             77042          USA
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 PILING OFFICE COPY- NATIONAL UCC FINANCING STATEMENT (FORM UCC1) - CALIFORNIA (REV. 01101106)



                                                                                                 EXHIBIT
        Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 55 of 63




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front and back) CAREFULLY
  NAME & PHONE OF CONTACT AT FILER (optional)

  SEND ACKNOVVLEDGEMENT TO: (Name and Address)

        T


                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S EXACT FULL LEGAL NAME - Insert only pne debtor name (1a or 1 b) - do not abbrevtate or combine names
      Ia. ORGANIZATION'S NAME

      Forward Components, Inc.
 OR
      lb. INDIVIDUALS LAST NAME                                          MST NAME                                  MIDDLE NAME                        SUFFIX


tc. MAILING ADDRESS                                                      CITY                                      STATE    POSTAL CODE               COUNTRY
9740 Research Drive                                                      Irvine                                      CA               92618              USA
                             AMYL INFO RE le. TYPE OF ORGANIZATION         JURISDICTION OF ORGANIZATION            1g. ORGANIZATIONAL IDX. ?laity
                             ORGANIZATION
                             DEBTOR       Corporation                    CA                                                      C3015493                 ONONE

  ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME - insert only me debtor name (2a or 2b) - do not abbreviate or combine names
      2a. ORGANIZATION'S NAME


      21). INDIVIDUAL'S LAST NAME                                        FIRST NAME                                MIDDLE NAME                        SUFFIX


2c. MAILING ADDRESS                                                      CITY                                      STATE    POSTAL CODE               COUNTRY


                                             0.                                                                                              any
                             ORGANIZATION
                             DEBTOR                                                                                                                       I:NONE

  SECURED PARTY'S NAME (or NAME of TOTAL ASSIGNEE of ASSIGNOR SIP) -.Insert only me secured party name (3a or 31))
      Se. ORGANIZATION'S NAME

      Briar Capital, L.P.
OR
      3b. INDIVIDUAL'S LAST NAME                                         FIRST NAME                                MIDDLE NAME                        SUFFIX


3c. MAILING ADDRESS                                                      CITY                                      STATE    POSTAL CODE               COUNTRY
1500 City West, Suite 420                                                Houston                                     TX               77042              USA
 This FINANCING STATEMENT covers the following collateral:

All of Debtor's assets wherever located, whether now owned or hereafter acquired, and al proceeds thereof.




6. ALTERNATIVE DESIGNATION [if applicablel:EILESSEEILESSOR OCONSIGNEE/CONSIGNOR DBAILEE/BAILOR ['SELLER/BUYER DAO. LIEN ONON•UCC FILING
   I-  1 This FINANCING STATEMENT Is to be filed (for record) (or recorded) in 7. Check to REQUEST SEARCH REPORT(S) on Debtor(s) F-1
6. Li the REAL ESTATE RECORDS. Mach Addendum                    lif applicable) [ADDITIONAL FEE)           (optional)             JAII0obtors 00ebtor I LJDeblor 2
8. OPTIONAL FILER REFERENCE DATA



FILING OFFICE COPY— NATIONAL UCC FINANCING STATEMENT (FORM UCC1)— CALIFORNIA (REV. 01101/08)
                    Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 56 of 63




 UCC FINANCING STATEMENT AMENDMENT
 FOLLOW INSTRUCTIONS                                                                                                      CT Lien Solutions
       NAME & PHONE OF CONTACT AT FILER (optional)
                                                                                                                          Representation of filing
        Phone: (800) 331-3282 Fax: (818) 662-4141
                                                                                                                                         This filing is Completed
       E-MAIL CONTACT AT FILER (optional)                                                                                                File Number: 1675489586
        CLS-CTLS_GlendaleCustomer.. ServIce@wolterskkiwer.com                                                                            File Date : 30-Sep-2016
       SEND ACKNOVVLEDGMENT TO: (Name and Address) 28609 - BRIAR CAPITAL

      [CT Lien Solutions
        P.O. Box 29071
                                                                                 55893563             7
        Glendale, CA 91209-9071                                                CALI

                                    File with: Secretary of State. CA
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127309612940 4/13/2012 SS CA                                                                                            (or recorded) in the REAL ESTATE RECORDS
                                                                                                                        Flier. atincb Amendment Addendum (Form UCC3Ad) and provide Debtors name In tern 13

2.       TERMINATION: Effediveness Wale Flnancing Statement Identified above Is terminated with respect to Ihe security Interest(s) of Secured Party authorizing this Termination
         Statement

     0 ASSIGNMENT (full or partial): Provide name of Assignee In item 7a or 7b,         address of Assignee In item 7c gig name of Assignor In item 9
        For partial assignment, complete Items 7 and 9 and also Indicate effected collateral In Hem 8

     0 CONTINUATION: Effectiveness of the Financing Statement Identified above with respect to the security Interest(s) of Secured Party authorizing this Continuation Statement is
        continued for the additional period provided by applicable law

     (g) PARTY INFORMATION CHANGE:
                                                                           alLg
                                                                             t Check ene of these three boxes to:
     Check eag. of these two boxes:
                                                                                      CHANGE name andier address: Complete,„ADD name: Complete item ,--, DELETE name: Give record name
     This Change affects    gDebtor es pSecured Party of record                    , item 65 or 6b; egg item 7a or 76 and item 7c Li 70 or 7b, eng Rent 7c
                                                                                  al                                                                       uto be deleted Intern 6o or 6b
     CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only                           name (60 crab)
        ee. ORGANIZATION'S NAME
        FORWARD COMPONENTS, INC.
OR
        6b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                   ADDMONAL NAME(S)IINMAL(S)                    SUFFIX



     CHANGED OR ADDED INFORMATION: Complete tot Assionmeet orPony Interrnation Chanoe plevkle only at mune (le or lb) (use exact, POI name; Co not omit. modify. or abbreviate any panel Me Debtors name)
        70. ORGANIZATION'S NAME
        FORWARD COMPONENTS, INC.
OR
       71). INDIVIDUAL'S SURNAME



           INODADUAL'S FIRST PERSONAL NAME



           INDIVIDUAL'S ADDMONAL NA ME(S)/INITIALCS)                                                                                                                                              SUFFIX



 7c. MAILING ADDRESS                                                                                                                                 STATE      POSTAL CODE                       COUNTRY

 20918 Bake Parkway, Suite 110                                                                 Lake Forest                                            CA         92630                            USA
S. 0 COLLATERAL CHANGE: ALso, check one of these four boxes: 0 ADD collateral                                 0 DELETE collateral            0 RESTATE covered collateral              0 ASSIGN collateral
         Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT:                                             Provide only one name (Ela or 9b) (name      or Assignor. If tills Is an Assignment)
     If thLs is an Amendment authorized by a DEBTOR, check here          fl and provide name of authorizing Debtor
       9a, ORGANIZATION'S NAME

        Briar Capital, L.P.
OR
       90. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INMAL(S)                  SUFFIX



to. OPTIONAL FILER REFERENCE DATA: Debtor Name: FORWARD COMPONENTS, INC.
55893563                           Forward Components                                                                                                         Forward Components
                                                                                                                                                                  Prepared by CT Lien Solutions. P.O. Box 29071,
FILING OFFICE COPY — UCC FINANCING STATEMENT AMENDMENT (Form UCC3) (Rev. 04/20/11)                                                                                Glendale; CA 91109-9071 Tel (NO) 331.3282
      Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 57 of 63
 1. lie Agency ?lace                                                                                  Page 1 of 1


                  Claims Summary
                                   2017-24250 / Court: 270
          The Hanover Insurance Group, Inc.                            Printer,Friendly,Versipn

             Inquiry Date: 11/16/2016                                     Expo.0..Tp Excel



  Producer
  Code          1606147

  Producer
  Name          FRED RHODES&COMPANY

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  Date Range*
                select the New Inquiry button.
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  Insured Name:               BRIAR CAPITAL, L. P.
  Customer Number             1027744584
  Policy Number               BFD 1045523
  Policy Effective Date       12/20/2015
  Premium Amount              $8,530.00


   Claim        Date Date        Desc Paid Subro                 Return Current Claim Notes
   Number       of   Claim       of Loss Loss                    To    Reserve Status Details
                Loss Reported                                    Work
                2016-
   0000035919         11/16/2016 fet       $.00 Does_Not Apply          $.00 open NOTES
                11-02
   Adjuster        Phone # and Ext.        Fax #          Adjuster      Adjuster Email
   Name                                                   Skill         Address
   Johnson Ginger 800-628-0250             508-926-                     gjohnson@hanover.com
                 x7603464                  5660




                                                                                                  EXHIBIT


https://tap.allmerica.coro/wps/myportal/tap/inquiry/Claimsinquiry?Policy=1045523&Poli... 11/16/2016
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 58 of 63
 Confirmation                                                            Page 1 of 1


 Hanover
  .Insurance Group'

Thank you. Your Webform was submitted successfully.

   (A copy of the completed form has been sent to the submifter)

Your confirmation number is

                                           486931520

Return




https://was7.allmerica.com/SpecialtyFNOL/specialAction.do                11/16/2016
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 59 of 63



                               2017p2tbraOcir1iasti: 270
                              I EACH STATEMENT MUST BE MADE UNDER OATH I

I.     Claim is hereby made this 2 day of             February             20 1 6 , upon The Hanover Insurance

       Company ("Hanover") under Bond No. BFD1045523, issued for the period of December 20, 2015 to

       December 20, 2016 to Briar Capital LP for a loss sustained in the amount of

       $ 905,456.08                , consisting of money/property described in the schedule submitted below,
       which loss was discovered by us on the    2              day of   November          ,2o 16 .

       The loss is a direct result of (check and complete):

       MI Insuring Agreement (A) - FIDELITY



       El Insuring Agreement (B) - ON PREMISES



       Da Insuring Agreement (C) - IN TRANSIT



       1/11 Insuring Agreement (D) - FORGERY OR ALTERATION



          Insuring Agreement (E) — SECURITIES



       ID Insuring Agreement (F) - COUNTERFEIT CURRENCY



       MI Insuring Agreement Rider — VOICE INITIATED TRANSFER FRAUD



       X1 Insuring Agreement Rider — TELEFACSIMILE TRANSFER FRAUD




                                                                                                EXHIBIT
                                                     (Page I 014)
     Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 60 of 63



 PROOF OF LOSS


           MI Insuring Agreement Rider — COMPUTER SYSTEMS FRAUD




                 Insuring Agreement Rider — AUDIT EXPENSE/FIDELITY CLAIMS EXPENSE




         The loss occurred under the following circumstances (provide supporting documentation):
 See attached.




         The loss was discovered under the following circumstances and by the following individuals (provide
         supporting documentation):

See attached.



         The loss consisted of property or money valued as itemized and described in the following schedule (if
         more space is required, continue on a separate sheet):

                                        *Approximate
                                         Date                       *Place             *Actual            Amount
Quantity           Description           Purchased                   Purchased           Cost             Claimed




See attached.
*If applicable
                                                            Total                                   $ •

                                                            Less salary, commission, profit, etc.
                                                                                                    $ 905,456.08
                                                            Net Loss




                                                    (Pagc 2 al'4)
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PROOF OF LOSS


     The insured has no other insurance under which the above claim, or any part thereof, is claimable,
     except for the following:




     Circumstances were reported to the police department or other law enforcement agency as follows:

     NAME OF AGENCY                  LOCATION                         REPORT NO.               DATE




    The following property and/or cash has been recovered:




    It is understood neither the delivery of this Proof of Loss nor any assistance rendered by Hanover's
    representative is either a waiver of Hanover's rights and defenses or an admission of liability. This form
    is provided solely to facilitate compliance with Proof of Loss filing requirements described within the
    Bond.




    The insured has caused these presents to be executed for the purpose of inducing Hanover to pay a claim
    as asserted and hereby assigns to and subrogates Hanover to all rights and causes of action the insured
    has against any person(s) or corporation(s) either arising out of or incident to said loss or damage to
    property on payment of this claim.




                                                (Page 3 o14)
      Case 4:17-cv-01532 Document 1-2 Filed in TXSD on 05/18/17 Page 62 of 63


PROOF OF LOSS




                INSURED




By
     NAME AND TITLE OF OFFICER MAKING AFFIDAVIT




                ADDRESS




Sworn to and subscribed before me
                                    (NOTARY PUBLIC OR COMMISSIONER OF DEEDS)

for the                                            of                                             this                          day of
                     COUNTY                                       STATE


                                    20        and in true testimony thereof I hereunto subscribe my name and affix my official seal the

day and year aforesaid.




                                                                    SIGNATURE OF NOTARY PUBLIC OR COMMISSIONER OF DEEDS




4847-5075-9485, v.




                                                             (P3gc 4 o(4)
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               PROOF OF Loss STATEMENT AND SUPPORTING DOCUMENTATION

        The loss suffered by Briar Capital, LLP ("Briar") is a direct result of a forged or altered
negotiable instrument and is covered by Insuring Agreement (D), or an altered security agreement
under Insuring Agreement (E). Forward Components, Inc. ("Forward") and Briar entered into that
certain Sale of Accounts and Security Agreement (the "Agreement") dated May 8, 2012. To secure
all payments owed to Briar, the Agreement granted Briar a security interest in Forward's
Collateral. A true and correct copy of the Agreement is Exhibit A. The Agreement was signed by
Scott Wilkosz as president of Forward.
       Under the Agreement, Briar agreed to purchase from Forward certain accounts. The
Accounts purchased by Briar from Forward constituted alleged invoices for purchases by several
units and subsidiaries of Honeywell International, Inc. ("Honeywell"). Briar purchased the
following forged and altered accounts from Forward:
   Date of Purchase                Account Debtor(s)                Schedule     Total Invoice
                                                                    Number         Amount
    March 7, 2016        Honeywell (Torrance) and Honeywell           337        $126,875.00
                                        (NM)
   March 15, 2016        Honeywell (MX) and Honeywell (NM)             338       $94,137.50
   March 16, 2016       Honeywell (Paulin) and Honeywell (NM)          339       $108,136.25
   March 17, 2016                Honeywell (Paulin)                    340       $57,180.00
   March 21, 2016                Honeywell (Paulin)                    341       $54,080.00
   March 22, 2016                Honeywell (Paulin)                    342       $48,425.00
   April 18, 2016                  Honeywell (NM)                      343       $48,631.00
   April 21, 2016        Honeywell (AZ) and Honeywell (MX)             344       $77,080.00
    June 9, 2016         Honeywell (AZ) and Honeywell (MX)             345       $89,609.00

    June 10, 2016          Honeywell(MX) and Honeywell                 346        $97,940.50
                    •                (Torrance)
    June 10, 2016              Honeywell (Torrance)                    347        $28,200.00
    June 13, 2016              Honeywell (Torrance)                    348       $34,250.00
    June 14, 2016                 Honeywell (AZ)                       349       $48,000.00
    June 15, 2016                 Honeywell (MX)                       350       $47,500.00
     July 6, 2016        Honeywell (AZ) and Honeywell (MX              351       $149,624.00

       A true and correct copy of the fraudulent Accounts, purchase orders, and invoices
purchased from Forward is attached as Exhibit B. Scott Wilcosz's signature is on each of the
Schedule of Accounts Sold/Bill of Sale .documents. Briar was unaware that it was purchasing
forged and altered accounts. On November 2, 2016, Scott Wilkosz admitted that Forward forged
the purchase orders and sold Briar non-existent invoices. In total, Briar is owed the sum of
$905,456.08.
